Case 18-30264-sgj11 Doc 525 Filed 08/17/18     Entered 08/17/18 20:00:50           Page 1 of 69



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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                §
 IN RE:                                         §    CHAPTER 11 CASES
                                                §
 ACIS CAPITAL MANAGEMENT, L.P.,                 §    CASE NO. 18-30264-sgj11
 ACIS CAPITAL MANAGEMENT GP, LLC,               §    (Jointly Administered)
                                                §
                                 Debtors.       §    Hearing Date: August 21, 2018
                                                §    at 9:30 a.m.

              CHAPTER 11 TRUSTEE’S BRIEF IN SUPPORT OF
   CONFIRMATION OF THE FIRST AMENDED JOINT PLAN FOR ACIS CAPITAL
   MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC AND FINAL
 APPROVAL OF DISCLOSURE STATEMENT AND RESPONSE TO PLAN OBJECTIONS
             (ON ISSUES OTHER THAN THE “LIMITED ISSUES”)
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                           Entered 08/17/18 20:00:50                             Page 2 of 69



                                                          TABLE OF CONTENTS

TABLE OF CONTENTS ............................................................................................................................... i

TABLE OF AUTHORITIES ....................................................................................................................... iii

I.         PRELIMINARY STATEMENT ..................................................................................................... 1

II.        BACKGROUND ............................................................................................................................. 2

           A.          The Chapter 11 Cases ......................................................................................................... 2

           B.          Plan and Disclosure Statement............................................................................................ 2

           C.          Solicitation, Notice, and Voting.......................................................................................... 3

           D.          Objections to Confirmation and the Trustee’s Responses .................................................. 5

           E.          Modifications of the Plan .................................................................................................... 8

           F.          The Plan Should Be Confirmed .......................................................................................... 8

III.       FACTS ............................................................................................................................................. 8

IV.        JURISDICTION AND VENUE ...................................................................................................... 9

V.         ARGUMENT AND AUTHORITIES .............................................................................................. 9

           A.          Section 1129(a)(1): The Plan Complies with the Applicable
                       Provisions of the Bankruptcy Code .................................................................................... 9

           B.          Section 1129(a)(2): The Trustee has Complied with the Bankruptcy Code ..................... 24

           C.          Section 1129(a)(3): The Plan Has Been Proposed in Good Faith and
                       Not by Any Means Forbidden by Law ............................................................................. 26

           D.          Section 1129(a)(4): The Plan Provides That Professional Fees and
                       Expenses are Subject to Court Approval .......................................................................... 30

           E.          Section 1129(a)(5): The Trustee Has Disclosed All Necessary
                       Information Regarding Directors, Officers, and Insiders ................................................. 31

           F.          Bankruptcy Code Section 1129(a)(6) Is Not Applicable .................................................. 37

           G.          The Plan Satisfies the Requirements of Section 1129(a)(7) of the Bankruptcy
                       Code .................................................................................................................................. 37

           H.          Section 1129(a)(9): The Plan Provides for Payment in Full of All Allowed
                       Priority Claims .................................................................................................................. 39

           I.          Section 1129(a)(10) is Satisfied ........................................................................................ 40



                                                                               i
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                             Entered 08/17/18 20:00:50                          Page 3 of 69



       J.    Section 1129(a)(11): The Plan Is Not Likely To Be Followed By
             Liquidation Or The Need For Further Reorganization ..................................................... 41

       K.    Section 1129(a)(12): All Statutory Fees Have Been Or Will Be Paid .............................. 42

       L.    Sections 1129(a)(13), 1129(a)(14), 1129(a)(15), 1129(a)(16), 1129(c), 1129(d)
             and 1129(e) Do Not Apply ............................................................................................... 43

       M.    The Plan Satisfies the Requirements of Section 1127 of the Bankruptcy Code ............... 44

       N.    The Plan Satisfies the Requirements of Section 1129(b) .................................................. 45

       O.    The Plan’s temporary Injunction Prohibiting Optional redemption is Necessary
             And Appropriate ............................................................................................................... 46

CONCLUSION……………………………………………………………………………………………57




                                                                 ii
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                Entered 08/17/18 20:00:50                     Page 4 of 69



                                                TABLE OF AUTHORITIES

Cases

ADPT DFW Holdings LLC, 577 B.R. 232 (Bankr. N.D. Tex. 2017) ......................................24, 30

Animale Group v. Sunny’s Perfume, Inc., 256 Fed. Appx. 707 (5th Cir. 2007) ............................55

Anstine v. Carl Zeiss Meditec AG (In re U.S. Medical, Inc.), 531 F.3d 1272
       (10th Cir. 2008)..................................................................................................................35

Balestri v. Hunton & Williams, LLP) (In re Hallwood Energy), 2012 Bankr.
       LEXIS 6066 (Bankr. N.D. Tex. Feb. 8, 2012) ...................................................................22

Bank of Am. Nat’l Trust & Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434 (1999) ...........36

Bank of La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.),
       266 F.3d 388 (5th Cir. 2001) .............................................................................................22

Browning Interests v. Allison (In re Holloway), 955 F.2d 1008 (5th Cir. 1992) ...........................33

Byrum v. Landreth, 566 F.3d 442 (5th Cir. 2009) .........................................................................48

Comptroller of Public Accounts v. Transtexas Gas Corp. (In re Transtexas Gas Corp.),
      303 F.3d 571 (5th Cir. 2002) .............................................................................................53

Crane v. Napolitano, 2013 U.S. Dist. LEXIS 193120 (N.D. Tex. Mar. 15, 2013) .......................53

Dong v. Miller, 2018 U.S. Dist. LEXIS 48506 (E.D.N.Y. Mar. 23, 2018) ...................................55

Fin. Sec. Assurance Inc. v. T-H New Orleans Ltd. P’ship (In re T-H Orleans Ltd. P’ship),
       116 F.3d 790 (5th Cir. 1997) .............................................................................................41

Heartland Fed. Sav. & Loan Ass’n v. Briscoe Enters. (In re Briscoe Enters.),
       994 F.2d 1160 (5th Cir. 1993) ........................................................................... 9, 11, 14-15

Hoover v. Morales, 164 F.3d 221 (5th Cir. 1998) .........................................................................48

Iantosca v. Step Plan Servs., 604 F.3d 24 (1st Cir. 2010) .............................................................55

In re ADPT DFW Holdings, LLC, 574 B.R. 87 (Bankr. N.D. Tex. 2017) .....................................22

In re Allegheny International, Inc., 118 B.R. 282 (Bankr. W.D. Pa. 1990) ..................................35

In re American Solar King Corp., 90 B.R. 808 (Bankr. W.D. Tex. 1988) ....................................44

In re Atlanta West VI, 91 B.R. 620 (Bankr. N.D. Ga. 1988) .........................................................14

In re Bensen, 262 B.R. 371 (Bankr. N.D. Tex. 2001)....................................................................13


                                                                    iii
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                             Entered 08/17/18 20:00:50                   Page 5 of 69



In re Cajun Elec. Power Co-op., Inc., 150 F.3d 503 (5th Cir. 1998) ............................................26

In re Couture Hotel Corp., 536 B.R. 712 (Bankr. N.D. Tex. 2015) .................................... 9-10, 41

In re Friedman, 126 B.R. 63 (B.A.P. 9th Cir. 1991) .....................................................................34

In re Frontier Airlines, Inc., 93 B.R. 1014 (Bankr. D. Colo. 1988) ..............................................44

In re General Homes Corp., 134 B.R. 853 (Bankr. S.D. Tex. 1991) ............................................14

In re Mirant Corp., 2007 Bankr. LEXIS 4951 (Bankr. N.D. Tex. Apr. 27, 2007) .............. 9-11, 24

In re Nartron Corp., 330 B.R. 573 (Bankr. W.D. Mich. 2005) .....................................................36

In re New Ctr. Hosp., 200 B.R. 592 (E.D. Mich. 1996) ................................................................29

In re Premiere Network Servs., 2005 Bankr. LEXIS 2298 (Bankr. N.D. Tex. Jul. 1, 2005)... 32-33

In re Rexford Properties, LLC, 557 B.R. 788 (Bankr. C.D. Cal. 2016) ........................................36

In re Sears Methodist Ret. Sys., 2015 Bankr. LEXIS 709 (Bankr. N.D. Tex. Mar. 5, 2015) ..........9

In re Seatco, Inc., 257 B.R. 469 (Bankr. N.D. Tex. 2001) ............................................................24

In re South Beach Securities, Inc., 376 B.R. 881 (Bankr. N.D. Ill. 2007) .....................................35

In re Sun Country Dev., Inc., 764 F.2d 406 (5th Cir. 1985) ..........................................................26

In re Thru, Inc., 2017 Bankr. LEXIS 1902 (Bankr. N. D. Tex. Jul. 10, 2017) ............ 11, 14-15, 41

In re McCommas LFG Processing Partners, 2007 Bankr. LEXIS 4053
       (Bankr. N.D. Tex. Nov. 29, 2007) .....................................................................................14

Lynch v. Winslow (In re Winslow), 473 B.R. 94 (E.D.N.C. 2012) ................................................34

MCA Fin. Grp. v. Hewlett-Packard (In re Fourthstage Techs.), 355 B.R. 155
     (Bankr. D. Ariz. 2006) .......................................................................................................35

Paradigm Biodevices, Inc. v. Centinel Spine, Inc., 2013 U.S. Dist. LEXIS 66858
      (S.D.N.Y. May 9, 2013) .....................................................................................................56

Phoenix Mut. Life Ins. Co. v. Greystone III Joint Venture (In re Greystone III
      Joint Venture), 995 F.2d 1274 (5th Cir. 1991) ............................................................ 11-12

Save Our Springs (SOS) Alliance v. WSI (II)-COS, L.L.C. (In re Save Our Springs
      (SOS) Alliance), 632 F.3d 168 (5th Cir. 2011) ..................................................................14

Seidel v. Warner (In re Atlas Fin. Mortg., Inc.), 2014 Bankr. LEXIS 140
        (Bankr. N.D. Tex. Jan. 14, 2014) ................................................................................. 55-56


                                                                 iv
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                   Entered 08/17/18 20:00:50                       Page 6 of 69



Think3 Litig. Tr. v. Zuccarello (In re Think3, Inc.), 529 B.R. 147
       (Bankr. W.D. Tex. 2015) ...................................................................................................33

U.S. Bank N.A. v. Village at Lakeridge, LLC (In re Village at Lakeridge, LLC),
       814 F.3d 993 (9th Cir. 2015) .............................................................................................35

U.S. Bank N.A. v. Village at Lakeridge, LLC, 138 S. Ct. 960 (2018) ............................................34

United States ex rel. Rahman v. Oncology Assocs., 198 F.3d 489 (4th Cir. 1999) ................. 55-56

United States v. Reorganized CF&I Fabricators, Inc., 518 U.S. 213 (1996)................................38

Western Real Estate Equities, L.L.C. v. Vill. At Camp Bowie I, L.P. (In re Vill. At
      Camp Bowie I, L.P.), 710 F.3d 239 (5th Cir. 2013).....................................................26, 45

Women’s Med. Ctr. v. Bell, 248 F.3d 411 (5th Cir. 2001) .............................................................48


Statutes

11 U.S.C. § 105(a) ................................................................................................. 21-22, 46, 54, 56

11 U.S.C. § 330 ..............................................................................................................................30

11 U.S.C. § 331 ..............................................................................................................................30

11 U.S.C. § 362(c)(1) .....................................................................................................................49

11 U.S.C. § 363(b)(1) ....................................................................................................................49

11 U.S.C. § 365 ................................................................................................................................1

11 U.S.C. § 365(b)(1) ....................................................................................................................23

11 U.S.C. § 365(c)(1) .....................................................................................................................20

11 U.S.C. § 507 ..............................................................................................................................42

11 U.S.C. § 507(a) .........................................................................................................................39

11 U.S.C. § 507(a)(2) .....................................................................................................................11

11 U.S.C. § 507(a)(8) ............................................................................................................... 10-11

11 U.S.C. § 1111(b) .......................................................................................................................12

11 U.S.C. § 1122 ...................................................................................................... 8, 10-13, 24, 44

11 U.S.C. § 1122(a) ........................................................................................................... 10-11, 13


                                                                       v
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                 Entered 08/17/18 20:00:50                      Page 7 of 69



11 U.S.C. § 1122(b) .......................................................................................................................10

11 U.S.C. § 1123 ............................................................................................................8, 10, 24, 44

11 U.S.C. § 1123(a)(1) ............................................................................................................. 10-12

11 U.S.C. § 1123(a)(5) ...................................................................................................................46

11 U.S.C. § 1123(a)(5)(F) ................................................................................................................1

11 U.S.C. § 1123(a)(6) ...................................................................................................................18

11 U.S.C. § 1123(a)(7) ............................................................................................................. 18-19

11 U.S.C. § 1123(a)(8) ...................................................................................................................19

11 U.S.C. § 1123(b) .......................................................................................................................19

11 U.S.C. § 1123(b)(1) ..................................................................................................................19

11 U.S.C. § 1123(b)(2) ..................................................................................................................20

11 U.S.C. § 1123(b)(3) ..................................................................................................................20

11 U.S.C. § 1123(b)(3)(A) .............................................................................................................20

11 U.S.C. § 1123(b)(3)(B) ....................................................................................................... 20-21

11 U.S.C. § 1123(b)(4) ..................................................................................................................21

11 U.S.C. § 1123(b)(5) ..................................................................................................................21

11 U.S.C. § 1123(b)(6) ......................................................................................................21, 23, 46

11 U.S.C. § 1123(c) .......................................................................................................................23

11 U.S.C. § 1123(d) ................................................................................................................. 23-24

11 U.S.C. § 1125 .............................................................................................................. 2, 8, 24-25

11 U.S.C. § 1125(b) .......................................................................................................................24

11 U.S.C. § 1126 .................................................................................................................. 8, 24-25

11 U.S.C. § 1126(c) .......................................................................................................................26

11 U.S.C. § 1127 ........................................................................................................................8, 44

11 U.S.C. § 1127(a) .......................................................................................................................44



                                                                     vi
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                 Entered 08/17/18 20:00:50                      Page 8 of 69



11 U.S.C. § 1129 ...................................................................................................................... 1, 8-9

11 U.S.C. § 1129(a)(1) .........................................................................................................9, 24, 45

11 U.S.C. § 1129(a)(2) .............................................................................................................24, 26

11 U.S.C. § 1129(a)(3) ....................................................................................................... 26-27, 29

11 U.S.C. § 1129(a)(4) ...................................................................................................................30

11 U.S.C. § 1129(a)(5) ............................................................................................................. 31-33

11 U.S.C. § 1129(a)(5)(A)(i) .........................................................................................................32

11 U.S.C. § 1129(a)(5)(B) ....................................................................................................... 32-33

11 U.S.C. § 1129(a)(6) ...................................................................................................................37

11 U.S.C. § 1129(a)(7) ............................................................................................................. 37-38

11 U.S.C. § 1129(a)(8) ...................................................................................................................45

11 U.S.C. § 1129(a)(9) ...................................................................................................................39

11 U.S.C. § 1129(a)(9)(A) .............................................................................................................40

11 U.S.C. § 1129(a)(9)(B) .............................................................................................................40

11 U.S.C. § 1129(a)(9)(C) .............................................................................................................40

11 U.S.C. § 1129(a)(9)(D) .............................................................................................................40

11 U.S.C. § 1129(a)(10) ...........................................................................................................40, 45

11 U.S.C. § 1129(a)(11) ........................................................................................................... 41-42

11 U.S.C. § 1129(a)(12) .................................................................................................................42

11 U.S.C. § 1129(a)(13) .................................................................................................................43

11 U.S.C. § 1129(a)(14) .................................................................................................................43

11 U.S.C. § 1129(a)(15) .................................................................................................................43

11 U.S.C. § 1129(a)(16) .................................................................................................................43

11 U.S.C. § 1129(b) ........................................................................................................... 43, 45-46

11 U.S.C. § 1129(c) .......................................................................................................................43



                                                                     vii
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                  Entered 08/17/18 20:00:50                     Page 9 of 69



11 U.S.C. § 1129(d) .......................................................................................................................43

11 U.S.C. § 1129(e) .......................................................................................................................43

11 U.S.C. § 1141(b) .......................................................................................................................49

15 U.S.C. 77e(d)(2) ........................................................................................................................28

28 U.S.C. § 1930(a)(6) .............................................................................................................11, 42

Fed. R. Bankr. P. 3019 ...................................................................................................................44

Fed. R. Bankr. P. 3020(c) ........................................................................................................54, 56

Fed. R. Bankr. P. 3020(c)(1) .............................................................................................. 54, 56-57

Fed. R. Civ. P. 65(d)(1)...................................................................................................... 54, 56-57

Secondary Sources

8 COLLIER ON BANKRUPTCY ¶ 3019.03 (15th ed. 1987) ................................................................44

Investment Advisers Act of 1940 ...........................................................................................28, 30

Securities Act of 1933 ..............................................................................................................28, 30




                                                                     viii
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 10 of 69



 TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY
 JUDGE:

          Robin Phelan (“Trustee”), the Chapter 11 Trustee for Acis Capital Management, LP and

 Acis Capital Management GP, LLC (the “Debtors”), files this brief in support of confirmation of

 the Plan and final approval of the Disclosure Statement and in response to objections to the plan.

 All capitalized terms not defined in this brief shall have the meanings provided in the Plan and/or

 Disclosure Statement.

                                      I.        PRELIMINARY STATEMENT

          1.        The Trustee and the Plan meet all the requirements for confirmation under section

 1129 of the Bankruptcy Code, and the Trustee requests that the Court confirm the Plan and grant

 final approval to the Disclosure Statement.

          2.        The Plan contains three alternatives—Plan A, Plan B and Plan C. This brief

 discusses the three alternatives collectively where they are similar but addresses them separately

 where they diverge or where they present different legal issues.

          3.        The Court directed the Trustee to submit a brief on or before August 10, 2018 with

 respect to (a) issues related to section 1142 of the Bankruptcy Code in connection with the

 proposed transfer of the Subordinated Notes currently held by HCLOF under the Plan A alternative

 of the Plan, and (b) issues related to sections 365 and 1123(a)(5)(F) of the Bankruptcy Code in

 connection with the proposed modification of the existing Indentures under the Plan B and Plan C

 alternatives of the Plan (the “Limited Issues”).

          4.        This brief is intended to address all issues other than the Limited Issues. On August

 10, 2018, the Trustee filed the Brief of Limited Issues in Support of First Amended Joint Plan for

 Acis Capital Management, L.P. and Acis Capital Management GP, LLC [Docket No. 493] (the

 “Limited Issues Brief”) and fully incorporates it herein by reference. The Trustee intends to file a



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 1
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 11 of 69



 reply on the Limited Issues on or before August 20, 2018 (the “Limited Issues Reply”) and also

 fully incorporates it herein by reference. The Trustee may refer to the Limited Issues Brief and

 the Limited Issues Reply where relevant in this brief.

                                                 II.       BACKGROUND

 A.       The Chapter 11 Cases

          5.        These bankruptcy cases were initiated on January 30, 2018 when Joshua N. Terry

 (“Terry”), as petitioning creditor, filed the involuntary petitions against the Debtors. On April 13,

 2018, this Court entered the order for relief and Diane Reed was appointed as interim chapter 7

 trustee. On May 11, 2018, the Court converted the cases to chapter 11 on Diane Reed’s motion

 and ordered the appointment of a chapter 11 trustee on Terry’s motion. On May 14, 2018, the

 United States Trustee appointed the Trustee as the chapter 11 trustee of these cases, and the Court

 approved that appointment as to Acis LP on May 17, 2018 and as to Acis GP on June 12, 2018.

 B.       Plan and Disclosure Statement

          6.        On July 5, 2018, the Trustee, on behalf of the Debtors, filed the Joint Plan for Acis

 Capital Management, L.P. and Acis Capital Management GP, LLC [Docket No. 383]. On July

 13, 2018, the Trustee filed the Disclosure Statement Pursuant to Section 1125 of the United States

 Bankruptcy Code with Respect to the Joint Plan for Acis Capital Management, L.P. and Acis

 Capital Management GP, LLC [Docket No. 405]. On July 29, 2018, the Trustee, on behalf of the

 Debtors, filed the First Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital

 Management GP, LLC [Docket No. 441], (the “Plan”) and the Disclosure Statement Pursuant to

 Section 1125 of the United States Bankruptcy Code with Respect to the First Amended Joint Plan

 for Acis Capital Management, L.P. and Acis Capital Management GP, LLC [Docket No. 442] (the

 “Disclosure Statement”).




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 2
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 12 of 69



          7.        On July 13, 2018, the Trustee filed the Chapter 11 Trustee’s Motion for Entry of

 Order (A) Conditionally Approving Disclosure Statement; (B) Scheduling Combined Hearing on

 Final Approval of Disclosure Statement and Confirmation of Plan and Setting Related Deadlines;

 (C) Approving Forms for Voting and Notice; and (D) Granting Related Relief [Docket No. 407]

 (the “Motion for Conditional Approval”).

          8.        On July 30, 2018, the Court entered an order granting the Motion for Conditional

 Approval [Docket No. 446] (the “Disclosure/Scheduling Order”) pursuant to which the Court,

 inter alia, conditionally approved the Disclosure Statement and scheduled deadlines and

 established procedures for soliciting approval of the Plan, submitting ballots to accept or reject the

 Plan, submitting briefs regarding the Plan, and filing and serving notice of any objection to

 confirmation of the Plan. The Disclosure/Scheduling Order also set a hearing to consider final

 approval of the Disclosure Statement and confirmation of the Plan (the “Combined Hearing”) to

 commence at 9:30 a.m. on August 21, 2018.

 C.       Solicitation, Notice, and Voting

          9.        On July 30, 2018, the Trustee’s counsel served the Plan, the Disclosure Statement,

 the Disclosure/Scheduling Order, ballots, and a Court-approved transmittal letter (the “Solicitation

 Packages”) as reflected in the Notice filed on July 31, 2018 at Docket No. 455. The Solicitation

 Packages were served in compliance with the Bankruptcy Rules and the Disclosure/Scheduling

 Order. On July 30, 2018, the Trustee’s counsel also served notice of the Combined Hearing as

 reflected in the Notice filed on July 31, 2018 at Docket No. 454.

          10.       As evidenced by the Tabulation of Ballots [Docket No. 523] (“Ballot Tabulation”),

 filed August 17, 2018, (i) the service of the Solicitation Packages was adequate and sufficient

 under the circumstances of these chapter 11 cases, and (ii) adequate and sufficient notice of the




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 3
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50               Page 13 of 69



 Combined Hearing and other requirements, deadlines, and matters described in the

 Disclosure/Scheduling Order was timely provided in compliance with the Bankruptcy Rules and

 the Disclosure/Scheduling Order.

          11.       As evidenced by the Ballot Tabulation, votes to accept or reject the Plan have been

 solicited and tabulated fairly, in good faith, and in a manner consistent with the

 Disclosure/Scheduling Order, the Bankruptcy Code, the Bankruptcy Rules, and the Local

 Bankruptcy Rules for the United States Bankruptcy Court for the Northern District of Texas.

          12.       The Trustee solicited votes for the three alternative plans within the Plan.

          13.       The final voting on Plan A is summarized as follows:

                            Class                            Votes      Acceptance %             Acceptance %   Accept/
                                                                         by Amount                by Number     Reject
      Class 1—Secured Tax Claims                            0          Not impaired          Non-voting         Accept
      Class 2—HCLOF Claim                                   0          N/A                   N/A                N/A
      Class 3—Terry Secured Claim                           2          100%                  100%               Accept
      Class 4—General Unsecured Claims                      1          100%                  100%               Accept
      Class 5A—Insider Claims                               1          0%                    0%                 Reject
      Class 5B—Equitably Subordinated Insider Claims        0          N/A                   N/A                N/A
      Class 6—Interests                                     0          N/A                   N/A                N/A

          14.       The final voting on Plan B is summarized as follows:

                            Class                            Votes      Acceptance %             Acceptance %   Accept/
                                                                         by Amount                by Number     Reject
      Class 1—Secured Tax Claims                            0          Not impaired          Non-voting         Accept
      Class 2—HCLOF Claim                                   0          N/A                   N/A                N/A
      Class 3—Terry Secured Claim                           2          100%                  100%               Accept
      Class 4—General Unsecured Claims                      1          100%                  100%               Accept
      Class 5A—Insider Claims                               1          0%                    0%                 Reject
      Class 5B—Equitably Subordinated Insider Claims        0          N/A                   N/A                N/A
      Class 6—Interests                                     0          Cancelled             Non-voting         Reject

          15.       The final voting on Plan C is summarized as follows:

                            Class                            Votes      Acceptance %             Acceptance %   Accept/
                                                                         by Amount                by Number     Reject
      Class 1—Secured Tax Claims                            0          Not impaired          Non-voting         Accept
      Class 2—HCLOF Claim                                   0          N/A                   N/A                N/A


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement                     Page 4
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50              Page 14 of 69



      Class 3—Terry Secured Claim                           2          100%                  100%            Accept
      Class 4—General Unsecured Claims                      1          100%                  100%            Accept
      Class 5A—Insider Claims                               1          0%                    0%              Reject
      Class 5B—Equitably Subordinated Insider Claims        0          N/A                   N/A             N/A
      Class 6—Interests                                     0          Cancelled             Non-voting      Reject

 D.       Objections to Confirmation and the Trustee’s Responses

          16.       On August 13, 2018, the following objections and reservations of rights were filed.

          17.       Limited Objection of Universal-Investment-Luxembourg S.A. (“Universal”) and

 Bayvk R2 Lux S.A., SICA-FIS to First Amended Joint Plan for Acis Capital Management, L.P. and

 Acis Capital Management GP, LLC (“Universal Objection”) [Docket No. 495]. The Universal

 Objection pertains to an agreement between Universal and Acis LP (the “Universal Agreement”).

 Universal Objection argues that the Plan is unclear about whether the Trustee seeks to assume

 and/or assign the Universal Agreement and that, for several reasons, the Trustee cannot assume

 and/or assign the Universal Agreement. The Trustee does intend to assume and assign the

 Universal Agreement under Plan A and to assume it under Plans B and C. The Trustee will respond

 to the Universal Objection in a separate response rather than in this brief and reserves all rights

 and objections with regard to the arguments made in the Universal Objection.

          18.       Objection of Issuers and Co-Issuers to Confirmation of the Chapter 11 Trustee’s

 First Amended Joint Plan for Acis Capital Management, L.P. and Acis Capital Management GP,

 LLC (“Issuer Objection”) [Docket No. 496].                       The Issuer Objection raises essentially five

 objections. The first objection is that the Court does not have the subject matter jurisdiction to

 approve the Plan because it purportedly seeks to convey non-estate property to Oaktree in Plan A.

 (Issuer Objection, pp. 3-7). That issue is addressed by the Trustee in the Limited Issues Brief and

 the Limited Issues Reply. The Issuers’ second argument is that Plans B and C are not confirmable

 because Plans B and C provide for assumption of the PMAs and state that the Reorganized Debtor




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement                   Page 5
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 15 of 69



 may not be removed as portfolio manager under the assumed PMAs without cause. The Issuers

 claim that this constitutes an impermissible modification of the PMAs. (Issuer Objection, pp. 7-

 8). This objection is without merit because the PMAs already provide that Acis LP cannot be

 terminated as portfolio manager without cause. The Plan does not propose any modification of

 the PMAs. The Issuers’ third argument is that Plans B and C are not confirmable because they

 seek to modify the Indentures to limit optional redemptions. (Issuer Objection, pp. 9-12). Those

 issues are addressed by the Trustee in the Limited Issues Brief and the Limited Issues Reply. The

 fourth argument raised by the Issuers is that the Issuers, Co-Issuers and Noteholders are impaired

 creditors whose votes were not solicited in the Plan process. (Issuer Objection, pp. 12-13). The

 Issuers and Co-Issuers were served the Plan, Disclosure Statement and ballots although their

 claims were filed in a zero dollar amount. Their votes were solicited, but they did not vote. The

 underlying Noteholders received the Plan and Disclosure Statement and notice of the Combined

 Hearing, but they did not receive ballots because they do not hold claims against the Debtors. The

 final argument raised by the Issuers is that the Trustee has not met his burden to show that Oaktree,

 the proposed assignee of the PMAs under Plan A, can provide adequate assurance of future

 performance. (Issuer Objection, pp. 12-13). The Trustee previously presented evidence at the

 hearing to approve the break-up fee in favor of Oaktree that clearly demonstrated that Oaktree is

 imminently qualified to perform under the PMAs and prepared to close the Plan A transaction, and

 this has not changed in the weeks that have elapsed since that hearing occurred.

          19.       Joint Objection of Highland Capital Management, L.P. and Highland CLO

 Funding, Ltd. to Final Approval of Disclosure Statement and to Confirmation of the Joint Plan for

 Acis Capital Management, L.P. and Acis Capital Management GP, LLC (“Highland Objection”)

 [Docket no. 497]. The Highland Objection is more extensive than the others and will be addressed




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 6
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 16 of 69



 where applicable below in this brief. Much of the Highland Objection (pages 6 through 11) argues

 that the Court does not have subject matter jurisdiction to confirm (i) Plan A because it is allegedly

 premised on the “taking of non-estate property” without the owners’ consent, and (ii) Plans B and

 C because they are premised on amendment of the Indentures. Another large part of the Highland

 Objection argues that the PMAs cannot be assumed and assigned to Oaktree without consent

 because other applicable law prohibits assignment and because the PMAs are personal service

 contracts (Highland Objection, pp. 24-29). That issue was addressed by the Trustee at pages 9-10

 of the Limited Issues Brief and any additional response will be contained in the Trustee’s Limited

 Issues Reply. The remaining objections raised by Highland and HCLOF will be addressed herein

 below.

          20.       Joshua N. and Jennifer G. Terry’s Reservation of Rights Regarding Confirmation

 of Debtors’ First Amended Joint Plan (“Terry Reservation”) [Docket No. 498]. Joshua and

 Jennifer Terry voted in favor of all alternatives of the Plan, in the following order of preference:

 Plan A, Plan C, then Plan B. The Terrys have concerns about two aspects of Plan A. One is the

 timing of payment of the Trustee’s commission in relation to creditors, and the other is the timing

 of payment for part of HCLOF’s claim. The Terrys’ final concern relates to Plans B and C, and

 they reserve the right to take a position on the Indentures as amended once they see the final

 product. The Trustee has discussed or will discuss these issues with the Terrys and will address

 them at the Combined Hearing as necessary.

          21.       Limited Objection of Acis CLO 2014-3 CLO Trustee to Confirmation of the Chapter

 11 Trustee’s First Amended Joint Plan for Acis Capital Management, LP and Acis Capital

 Management GP, LLC [Docket No. 499]; Limited Objection of Acis CLO 2014-5 CLO Trustee to

 Confirmation of the Chapter 11 Trustee’s First Amended Joint Plan for Acis Capital Management,




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 7
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 17 of 69



 LP and Acis Capital Management GP, LLC [Docket No. 500]; and Limited Objection of Acis CLO

 2015-6 CLO Trustee to Confirmation of the Chapter 11 Trustee’s First Amended Joint Plan for

 Acis Capital Management, LP and Acis Capital Management GP, LLC [Docket No. 501]

 (collectively, the “CLO Objections”); Reservation of Rights of Acis CLO 2013-1 CLO Trustee to

 Confirmation of Plan [Docket No. 504]; and Reservation of Rights of Acis CLO 2014-4 CLO

 Trustee to Confirmation of Plan [Docket No. 505] (collectively, the “CLO Reservations”). The

 CLO Objections and the CLO Reservations pertain to the Trustee’s proposal in Plans B and C to

 amend the Indentures to restrict optional redemption and replacement of the portfolio manager for

 a period of time. The Trustee has addressed these arguments in the Limited Issues Brief and the

 Limited Issues Reply.

          22.       The Trustee also received comments from the United States Trustee, which he is

 attempting to resolve prior to the Combined Hearing.

 E.       Modifications of the Plan

          23.       On August 16, 2018, the Trustee filed the First Modification to the First Amended

 Joint Plan for Acis Capital Management, L.P. and Acis Capital Management GP, LLC (the “Plan

 Modification”) [Docket No. 515].

 F.       The Plan Should Be Confirmed

          24.       As discussed below, and as will be further demonstrated as necessary at the

 Combined Hearing, the Plan satisfies all of the confirmation requirements contained in sections

 1122, 1123, 1125, 1126, 1127, and 1129 of the Bankruptcy Code. Accordingly, the Plan should be

 confirmed.

                                                        III.      FACTS

          25.       The relevant facts relating to these bankruptcy cases and the Plan are set forth in

 the pleadings and other documents filed in these cases, including the Disclosure Statement, the


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 8
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 18 of 69



 Plan, and orders entered by the Court. Such facts are incorporated herein as though set forth fully

 and at length. Salient facts, as necessary, will be referred to in connection with the discussion of

 applicable legal principles.

                                        IV.     JURISDICTION AND VENUE

          26.       The Court has jurisdiction over these chapter 11 cases pursuant to 28 U.S.C. § 1334.

 Confirmation of the Plan and final approval of the Disclosure Statement are core proceedings

 pursuant to 28 U.S.C. § 157(b), and the Court has jurisdiction to enter final orders with respect to

 those matters. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                   V.         ARGUMENT AND AUTHORITIES

          27.       To obtain confirmation of the Plan, the Trustee must demonstrate, by a

 preponderance of the evidence, that the Plan satisfies the applicable provisions of section 1129 of

 the Bankruptcy Code. Heartland Fed. Sav. & Loan Ass’n v. Briscoe Enters. (In re Briscoe Enters.),

 994 F.2d 1160, 1165 (5th Cir. 1993); In re Sears Methodist Ret. Sys., 2015 Bankr. LEXIS 709, at

 *8 (Bankr. N.D. Tex. Mar. 5, 2015); In re Couture Hotel Corp., 536 B.R. 712, 732 (Bankr. N.D.

 Tex. 2015); In re Mirant Corp., 2007 Bankr. LEXIS 4951, at * 19-20 (Bankr. N.D. Tex. Apr. 27,

 2007).

          28.       Through filings with the Court and additional evidence which may be adduced at

 the Combined Hearing, the Trustee will show, by a preponderance of the evidence, that all

 applicable subsections of section 1129 of the Bankruptcy Code have been satisfied with respect to

 the Plan.

 A.       Section 1129(a)(1): The Plan Complies with the Applicable Provisions of the
          Bankruptcy Code.

          29.       Section 1129(a)(1) of the Bankruptcy Code requires that a plan must comply with

 the applicable provisions of the Bankruptcy Code. The legislative history of section 1129(a)(1)



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 9
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 19 of 69



 indicates that the purpose of this provision is to ensure compliance with the requirements of

 sections 1122 and 1123 of the Bankruptcy Code governing classification of claims and contents

 of a plan, respectively. H.R. REP. NO. 95-595, at 412 (1977); S. REP. NO. 95-989, at 126 (1978);

 In re Couture Hotel Corp., 536 B.R. 712, 733 (Bankr. N.D. Tex. 2015); In re Mirant Corp., 2007

 Bankr. LEXIS 4951, at *20 (Bankr. N.D. Tex. Apr. 27, 2007).

          30.       As demonstrated below, the Plan fully complies with the requirements of sections

 1122, 1123, and all other applicable provisions of the Bankruptcy Code.

          (i)       Proper Classification: The Plan Complies with Sections 1122
                    and 1123(a)(1) of the Bankruptcy Code.

          31.       The Plan classifies claims against and equity interests in the Debtors as required by

 sections 1122 and 1123(a)(1) of the Bankruptcy Code. The classification is reasonable and

 justified; it complies with the requirements in the Bankruptcy Code; and it is not motivated by, or

 evidence of, any lack of good faith in these chapter 11 cases.

          32.       Section 1123(a)(1) of the Bankruptcy Code provides that a plan shall, subject to

 section 1122, designate (i) classes of claims other than claims that qualify as allowed

 administrative expenses under section 503(b) of the Bankruptcy Code or priority tax claims under

 section 507(a)(8) of the Bankruptcy Code, and (ii) classes of interests. 11 U.S.C. § 1123(a)(1).

 Section 1122(a) of the Bankruptcy Code provides in pertinent part as follows:

                    Except as provided in subsection (b) of this section, a plan may
                    place a claim or interest in a particular class only if such claim or
                    interest is substantially similar to the other claims or interests of
                    such class.

 11 U.S.C. § 1122(a).

          33.       Subsection (b) allows a plan to designate a separate class of unsecured claims of

 less than a specific amount, if such a designation is “reasonable and necessary for administrative




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 10
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50            Page 20 of 69



 convenience.” Id. § 1122(b). Here, the Trustee elected not to designate an administrative-

 convenience class in the Plan.

          34.       For a classification structure to satisfy section 1122(a) of the Bankruptcy Code, not

 all substantially similar claims or interests need to be designated in the same class. In re Thru,

 Inc., 2017 Bankr. LEXIS 1902, at *8-9 (Bankr. N.D. Tex. Jul. 10, 2017); Mirant, 2007 Bankr.

 LEXIS 4951 at *21.             Instead, claims or interests designated to a particular class must be

 substantially similar to each other. Mirant, 2007 Bankr. LEXIS 4951 at *20-21 (citing Phoenix

 Mut. Life Ins. Co. v. Greystone III Joint Venture (In re Greystone III Joint Venture), 995 F.2d

 1274, 1278-81 (5th Cir. 1991)).             A plan proponent is permitted to separately classify claims that

 are similar as long as there is a reasonable basis or good business justification for such separate

 classification. Id. at *21 (citing Heartland Fed. Sav. & Loan Assoc. v. Briscoe Enters. Ltd., II (In

 re Briscoe Enters. Ltd., II, 994 F.2d 1160, 1167 (5th Cir. 1993)); In re Thru, Inc., 2017 Bankr.

 LEXIS 1902 at *9.

          35.       The Plan designates Classes of Claims against and Interests in the Debtors in

 accordance with section 1123(a)(1) of the Bankruptcy Code, and provides, in a manner consistent

 with section 1122(a) of the Bankruptcy Code, for the separate classification of Claims and Interests

 based upon valid business, factual, and legal reasons. Specifically, in addition to Administrative

 Expenses, Priority Tax Claims, and quarterly fees payable to the United States Trustee, which need

 not be classified, 1 Article II (Plan A), Article III (Plan B) and Article IV (Plan C) of the Plan

 designate seven Classes and subclasses of Claims against and Interests in the Debtors, as follows:

                                       Class 1 — Secured Tax Claims
                                       Class 2 — HCLOF Claim

 1
   As required by statute, the Plan does not classify administrative expenses entitled to priority under § 507(a)(2) of
 the Bankruptcy Code, tax claims entitled to priority under § 507(a)(8) of the Bankruptcy Code, and quarterly fees
 payable to the United States trustee under 28 U.S.C. § 1930(a)(6). See 11 U.S.C. § 1123(a)(1). Instead, the Plan
 treats these claims as unclassified claims. (Plan §§ 2.05-2.07, 3.05-3.07, 4.05-4.07).



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement                    Page 11
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 21 of 69



                                       Class 3 — Terry Secured Claims
                                       Class 4 — General Unsecured Claims
                                       Class 5A — Insider Claims
                                       Class 5B — Equitably Subordinated Insider Claims
                                       Class 6 — Interests in the Debtors

          36.       Each class in the Plan includes only claims or equity interests that are “substantially

 similar” to the other claims or equity interests in the class. Claims are “substantially similar” when

 they “share common priority and rights against the debtor's estate.” Phoenix Mut. Life Ins. v.

 Greystone III Joint Venture (In re Greystone III Joint Venture), 995 F.2d 1274, 1278 (5th Cir.

 1991) (unsecured deficiency claim under § 1111(b) “substantially similar” to unsecured trade

 claims). The Plan does not lump together, in any class, claims or equity interests with different

 rights of priority with respect to the Debtors or their assets. Accordingly, the Plan’s classification

 system meets the requirements of sections 1122 and 1123(a)(1). Each of the Claims or Interests

 in each particular Class is substantially similar to the other Claims or Interests in such Class.

 Specifically, Class 1 consists of all Secured Tax Claims, which includes any ad valorem tax claims

 that arose or are deemed to have arisen on or before the Petition Date, irrespective of the date on

 which such claim is assessed or is due. Class 2 consists only of the HCLOF Claim. Although

 HCLOF may now contend that it is not a creditor, HCLOF’s claim is evidenced by (i) statements

 in correspondence dated May 4, 2018, from HCLOF to U.S. Bank, the indenture trustee for all five

 Acis CLOs, claiming setoff rights against funds held by the indenture trustee belonging to the

 Debtors; and (ii) HCLOF’s suit against the Trustee to compel an optional redemption liquidating

 the CLOs. Accordingly, HCLOF has affirmatively represented that it is a creditor of the Debtors

 secured by a right of offset. Class 3 includes Terry’s Secured Claim, which is a judgment creditor

 claim partially secured by a writ of garnishment, which garnishment may be subject to avoidance

 as a preferential transfer. Class 4 consists of all General Unsecured Claims. Class 5 includes




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 12
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50          Page 22 of 69



 Insider Claims and is divided into two subclasses. Subclass 5A includes Insider Claims not subject

 to equitable subordination, and Subclass 5B includes equitably subordinated Insider Claims.

 Subclass 5B is currently an empty subclass. Class 6 consists of Interests in the Debtors.

          37.       The Trustee submits that the Plan’s classification of Claims and Interests does not

 prejudice the rights of any creditor or equity security holder, is consistent with the requirements

 of the Bankruptcy Code and, thus, is appropriate.

          38.       Highland and HCLOF argue that the Plan improperly classifies both Terry’s Claim

 and Highland’s Claim in an attempt to gerrymander the classes to ensure one accepting class. The

 argument seems to be that there is no basis to separately classify Terry’s claim (now alone in Class

 3) and that it should be in Class 4 with the other general unsecured claims. Likewise, Highland

 and HCLOF argue that their claims should also be in Class 4. (Highland Objection, pp. 23-24).

 The Trustee submits that the Bankruptcy Code requires that the Terry Secured Claim2 be placed

 in a separate class. As stated in the amended proof of claim filed by Terry on June 12, 2018, the

 Terry Secured Claim arises from a judgment against the Debtors in the amount of $7,949,749.15,

 which judgment was entered December 18, 2017, by the 44th District Court of Texas. The Terry

 Secured Claim is secured by a Writ of Garnishment issued December 27, 2017, and served on or

 about December 29, 2017. See In re Bensen, 262 B.R. 371, 376 (Bankr. N.D. Tex. 2001) (under

 Texas law, service of writ of garnishment creates judicial lien). Except for Secured Tax Claims –

 which, if there are any,3 stand in a very different legal and factual position – the Terry Secured




 2
   For the avoidance of doubt “Terry Secured Claim” is defined by the Plan to include all of Joshua Terry’s claims
 and includes the part of his claim secured by garnishment (to the extent that cannot be avoided as a preferential
 transfer) as well as the unsecured portion of his claims.
 3
  As of the date of this filing, no governmental entity has filed a proof of claim showing entitlement to a Secured
 Tax Claim, and the Trustee is not aware that any Secured Tax Claim exists.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement                  Page 13
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50       Page 23 of 69



 Claim is the only secured claim in these cases. For this reason, it would violate section 1122 to

 classify the Terry Secured Claim with other claims, such as general unsecured claims.

          39.       Even if the judicial lien created by service of the writ of garnishment were avoided

 and Terry stood in the position of an unsecured creditor, it would still be appropriate to classify

 Terry’s claim separately. Section 1122(a) does not require that all “substantially similar” claims

 be classified together. In re Thru, Inc., Case No. 17-31034, 2017 Bankr. LEXIS 1902, at *8 (Bankr.

 N.D. Tex. Jul. 10, 2017). Indeed, courts recognize that a plan proponent has and should have a

 large degree of flexibility in classifying claims and equity interests. See In re McCommas LFG

 Processing Partners, Case No. 07-32219-HDH-11), 2007 Bankr. LEXIS 4053 (Bankr. N.D. Tex.

 Nov. 29, 2007); In re General Homes Corp., 134 B.R. 853, 863 (Bankr. S.D. Tex. 1991). In re

 Atlanta West VI, 91 B.R. 620, 626 (Bankr. N.D. Ga. 1988). In the Fifth Circuit, separate

 classification of “substantially similar” claims will be upheld if the plan proponent shows that the

 classification was based on a reasonable justification and not to gerrymander an impaired accepting

 class. Save Our Springs (SOS) Alliance v. WSI (II)-COS, L.L.C. (In re Save Our Springs (SOS)

 Alliance), 632 F.3d 168, 174 (5th Cir. 2011); Heartland Fed. Sav. & Loan v. Briscoe Enters. (In

 re Briscoe Enters.), 994 F.2d 1160, 1167 (5th Cir. 1993); Greystone, 995 F.2d at 1279.

          40.       Terry is uniquely situated in these cases. His claim is much larger, by a magnitude

 of more than ten, than any claim in the class of General Unsecured Claims.4 Before the

 commencement of these cases, Terry, as an employee of Highland, served as portfolio manager

 for the Acis CLOs. Under Plan C of the Plan, the Reorganized Debtor will hire Terry as Chief

 Trader to resume his role as manager of the CLOs (this time as an employee of the Reorganized




 4
  Indeed, except for the HCLOF Claim – which arises from its holding of subordinated notes and clearly is of a
 different character than any other claim – Terry’s claim is by far the largest claim in these cases.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement              Page 14
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 24 of 69



 Debtor, not Highland). Terry’s history – and, more importantly, his economic interest in what

 happens to the Debtors after confirmation of the Plan – are not shared by any other creditor in

 these cases. For this reason, it is perfectly appropriate for Terry’s claim to constitute a separate

 class in the Plan. See Briscoe, 994 F.2d at 1167 (creditor’s unique interest in reorganized debtor

 justified separate classification); Thru, 2017 Bankr. LEXIS 1902, at *9 (creditor’s special “non-

 creditor interest” made separate classification appropriate).

          41.       The reasonable justification for separately classifying Terry’s claim, and the

 absence of any motive to gerrymander claims, are further supported by the unique treatment given

 to the claim, which treatment befits the unique situation of Terry. Under Plan A, unlike General

 Unsecured Claims, the Terry Secured Claim will receive payments of post-petition interest. (Plan

 § 2.10). Under Plan B or Plan C, Terry will receive 100% of the equity in the Reorganized Debtor

 in exchange for a $1 million reduction in the amount of his claim. The balance of the claim will

 be treated as a General Unsecured Claim. (Plan §§ 3.10, 4.10). Holders of General Unsecured

 Claims receive quarterly distributions of cash. (Plan §§ 3.11, 4.11). Compare Greystone, 995 F.2d

 at 1280-81 (separately classifying similar claims, but giving same treatment, undercuts

 proponent’s justification for separate classes).

          42.       Based on the authorities cited above, there is also reasonable business justification

 for separately classifying Highland’s and HCLOF’s claim. Highland’s claim should clearly be

 separately classified, not only because Highland is an insider and a potential competitor, but also

 because of the multitude of claims the Estate has against Highland as detailed in Exhibit D to the

 Plan, which include claims seeking millions from Highland based on breaches of fiduciary duties

 owed to the Debtors and the avoidance of fraudulent transfers. In addition, the Trustee believes




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 15
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 25 of 69



 that Highland’s claim is subject to equitable subordination. Those are all reasonable business

 justifications for classifying Highland separately from Terry and/or General Unsecured Claims.

          (ii)      The Plan Complies with the Remaining Subsections of Section
                    1123(a) of the Bankruptcy Code.

          43.       In addition to subsection 1123(a)(1) of the Bankruptcy Code, discussed above, the

 Plan fully complies with each of the additional enumerated requirements of section 1123(a).

                    (a) Section 1123(a)(2): Classes That Are Not Impaired by the Plan

          44.       Section 1123(a)(2) requires a plan to specify which classes of claims or interests

 are not impaired by the Plan. The Plan specifies that Class 1 (Secured Tax Claims)—whether in

 Plan A, B or C—is unimpaired. (Plan §§ 2.03, 3.03 and 4.03). Accordingly, the Plan satisfies the

 requirements of section 1123(a)(2) of the Bankruptcy Code.

                    (b) Section 1123(a)(3): Treatment of Classes That Are Impaired By the Plan

          45.       Section 1123(a)(3) requires a plan to specify how it will treat impaired classes of

 claims or interests. Article II of the Plan sets forth the treatment of Claims in each impaired Class

 for Plan A (Plan, §§ 2.08-2.13). Article III of the Plan sets forth the treatment of Claims in each

 impaired Class for Plan B (Plan, §§ 3.08-3.13). Article IV of the Plan sets forth the treatment of

 Claims in each impaired Class for Plan C (Plan, §§ 4.08-4.13). Accordingly, the Plan satisfies the

 requirements of section 1123(a)(3) of the Bankruptcy Code.

                    (c) Section 1123(a)(4): Equal Treatment Within Each Class

          46.       Section 1123(a)(4) requires that a plan provide the same treatment for each claim

 or interest within a particular class unless any claim or interest holder agrees to receive less

 favorable treatment than other class members. Under all alternatives of the Plan, the treatment of

 each Claim against or Interest in the Debtors, in each respective Class, is the same as the treatment

 of each other Claim or Interest in such Class, unless a creditor elects to receive less favorable



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 16
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 26 of 69



 treatment. (Plan art. II, III and IV.) Accordingly, the Plan satisfies the requirements of section

 1123(a)(4) of the Bankruptcy Code.

                    (d) Section 1123(a)(5): Adequate Means for Implementation

          47.       Section 1123(a)(5) requires that a plan provide “adequate means for the plan’s

 implementation.” The Trustee contends all versions of the Plan satisfy section 1123(a)(5) of the

 Bankruptcy Code and the means for implementation for all Plan alternatives are appropriate for

 the reasons set forth in this brief, the Limited Issues Brief and the Limited Issues Reply.

          48.       Plan A will be implemented as provided in Article II of the Plan. (Plan, §§ 2.17-

 2.30). Specifically, Plan A will be implemented through a transaction with Oaktree, whereby

 Oaktree will transfer the Transaction Amount to the Trustee. The Trustee will then pay the

 HCLOF Claim in full. By virtue of the payment of the HCLOF Claim, the Trustee will be

 subrogated to HCLOF’s position with respect to the Subordinated Notes. The Trustee will then

 transfer the Subordinated Notes to Oaktree along with all of Acis LP’s rights, title and interest in

 the PMAs. What remains with the Debtors after those transfers will be transferred to the Acis

 Trust for the benefit of creditors and interest holders of the Debtors. For further information and

 briefing on the implementation of Plan A, see Limited Issues Brief, pp. 1-10, and the Limited Issues

 Reply.

          49.       Plans B and C will be implemented through Articles III and IV of the Plan,

 respectively. (Plan, §§ 3.17-3.30, 4.17-4.30.) Under those alternatives, on the Effective Date, all

 Cash, Estate Accounts Receivable, Estate Claims and Estate Defenses will be transferred to the

 Acis Trust. The Acis Trustee will liquidate those assets for the benefit of creditors of the Debtors.

 All existing interests in the Debtors will be cancelled and 100% of the interests in the Reorganized

 Debtor will be issued to Terry as partial payment for his Secured Claim. The PMAs will be




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 17
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 27 of 69



 assumed by the Reorganized Debtor, which will continue to manage the CLOs, earn fees, and pay

 Claims as provided in the Plan from post-Effective Date income. Under Plan B, Brigade Capital

 Management, LP (“Brigade”), with the assistance of Cortland Capital Markets Services LLC, will

 provide sub-servicing and sub-advisory services to the Reorganized Debtor, and under Plan C the

 Reorganized Debtor will hire Terry as its Chief Trader. Under both Plan B and Plan C, the

 Indentures shall be amended pursuant to section 1123(a)(5)(F) of the Bankruptcy Code. For further

 information and briefing on the implementation of Plans B and C, see Limited Issues Brief, pp. 11-

 26, and the Limited Issues Reply.

                    (e) Section 1123(a)(6): Prohibitions on the Issuance of Non-Voting Securities

          50.       Section 1123(a)(6) requires amendment of a corporate debtor’s charter to prohibit

 the issuance of nonvoting equity securities. These Debtors are not corporations so this section

 does not apply.

                    (f) Section 1123(a)(7): Provisions Regarding Directors and Officers

          51.       Section 1123(a)(7) requires that the Plan “contain only provisions that are

 consistent with the interests of creditors and interest holders and with public policy with respect to

 the manner of selection of any officer, director, or trustee under the plan and any successor to such

 officer, director, or trustee.”

          52.       With respect to Plan A, the only officer, director, or trustee under the Plan is the

 Acis Trustee. The Plan has been modified to name Robin Phelan as the Acis Trustee and to provide

 that his current hourly rate is $750.00. Since the Acis Trustee is the same as the Trustee in these

 cases, his selection as a fiduciary has already undergone scrutiny, and his appointment is consistent

 with the interests of creditors and interest holders and with public policy. Under Plans B and C,




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 18
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 28 of 69



 the same Acis Trustee will also control Cash, Estate Accounts Receivable, Estate Claims and

 Estate Defenses and will liquidate them for the benefit of creditors.

          53.       Under Plans B and C, the Reorganized Debtor does not have officers, directors, or

 trustees at this point. Terry will own 100% of the equity interests of the Reorganized Debtor and

 can structure them as he wishes. Under Plan B, Brigade will act as the sub-servicer and sub-

 advisor. Based on prior proceedings before this Court and filings and disclosures about Brigade,

 parties have sufficient information about its selection for that role. The Trustee believes Brigade’s

 role is consistent with the best interests of all parties in interest and with public policy. Indeed,

 Brigade’s selection as sub-servicer and sub-advisor has already been approved by order of this

 Court. See Docket No. 464. Under Plan C, Terry will act as Chief Trader. The Trustee believes

 Terry’s role is consistent with the best interests of all parties in interest and with public policy.

          54.       These provisions are consistent with the interests of creditors and equity security

 holders and with public policy, as required by section 1123(a)(7).

                    (g) Section 1123(a)(8) Is Not Applicable.

          55.       Section 1123(a)(8) applies only in a case where the debtor is an individual. As the

 Debtors are not individuals, this provision does not apply to these cases.

          (iii)     The Plan Complies with Section 1123(b) of the Bankruptcy
                    Code.

          56.       Section 1123(b) sets forth certain permissive provisions that may be incorporated

 into a chapter 11 plan. Each provision of the Plan is consistent with section 1123(b) of the

 Bankruptcy Code.

                    (a) Section 1123(b)(1): Impairment/Unimpairment of Claims and Interests

          57.       Section 1123(b)(1) provides that a plan may “impair or leave unimpaired any class

 of claims, secured or unsecured, or of interests.” Claims in Class 1 (Secured Tax Claims) are



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 19
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 29 of 69



 unimpaired by the Plan. The remaining Classes of Claims and Interests are impaired. Accordingly,

 the Plan is consistent with section 1123(b)(1) of the Bankruptcy Code.

                    (b) Section 1123(b)(2): Assumption/Rejection of Executory Contracts and
                        Leases

          58.       Section 1123(b)(2) allows a plan to provide for the assumption, assumption and

 assignment, or rejection of executory contracts and unexpired leases pursuant to section 365 of the

 Bankruptcy Code.

          59.       Section 8.01 of the Plan provides that all executory contracts and unexpired leases

 will be rejected unless they are assumed and assigned to Oaktree (in the case of Plan A) or are

 assumed (in the case of Plans B and C). The Trustee has filed or intends to file a schedule of the

 executory contracts to be assumed or assumed and assigned. Article VIII of the Plan also addresses

 other issues related to assumption or rejection of executory contracts and unexpired leases.

          60.       Highland, HCLOF, the Issuers and Co-Issuers argue in their objections that the

 Trustee cannot assume the PMAs and assign them to Oaktree because section 365(c)(1) of the

 Bankruptcy Code and other applicable law prohibit him from doing so. See, Highland Objection

 pp. 24-26. That issue is addressed in the Limited Issues Brief at pp. 9-10, and the Limited Issues

 Reply.

          61.       Highland and HCLOF also argue that the PMAs are personal service contracts that

 cannot be assigned under New York law. See, Highland Objection, pp. 26-28. The Trustee

 disagrees with that characterization, and that issue will be addressed in the Limited Issues Reply.

          62.       Based on the foregoing, the Plan complies with section 1123(b)(2) of the

 Bankruptcy Code, and the assumptions and/or assignments contemplated in Plans A, B and C are

 appropriate under the Bankruptcy Code and other applicable law and case authorities.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 20
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 30 of 69



                    (c) Section 1123(b)(3): Settlement of Claims and Causes of Action

          63.       Section 1123(b)(3)(A) allows a plan to provide for “the settlement or adjustment of

 any claim or interest belonging to the debtor or to the estate.” Section 1123(b)(3)(B) provides that

 a plan may “provide for the retention and enforcement by the debtor” of any such claim or interest.

 Article VI of the Plan provides for the retention of all Estate Claims, including but not limited to

 those listed on Exhibit D to the Plan. Retention of the Estate Claims is consistent with and

 permitted by section 1123(b)(3)(B) of the Bankruptcy Code.

                    (d) Section 1123(b)(4): Sale of All or Substantially All Assets

          64.       Section 1123(b)(4) provides that a plan may “provide for the sale of all or

 substantially all of the property of the estate, and the distribution of the proceeds of such sale

 among holders of claims or interests.”                  None of the Plan alternatives contemplate a sale of

 substantially all of the assets of the Estate. Plan A contemplates an assumption and assignment of

 the PMA to Oaktree and the transfer of the Subordinated Notes to Oaktree after the Trustee pays

 the HCLOF Claim and is subrogated to its position with respect to the Subordinated Notes. See,

 Plan §§ 2.17 and 2.18. The Limited Issues Brief and the Limited Issues Reply address the support

 for these transactions and are incorporated fully herein.

                    (e) Section 1123(b)(5): Modification of Creditors’ Rights

          65.       Section 1123(b)(5) provides that a plan may “modify the rights of holders of

 secured claims, other than a claim secured only by a security interest in real property that is the

 debtor’s principal residence, or of holders of unsecured claims, or leave unaffected the rights of

 holders of any class of claims.” Here, the Plan affects the rights of all holders of Claims against

 and Interests in the Debtors, with the exception of holders of Claims in Class 1, which is

 unimpaired. Accordingly, the Plan is consistent with section 1123(b)(5) of the Bankruptcy Code.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 21
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 31 of 69



                    (f) Section 1123(b)(6) and Section 105(a): Other Appropriate Provisions—
                        Substantive Consolidation and Retention of Jurisdiction

          66.       Section 1123(b)(6) is a “catchall” provision, which permits inclusion in a plan of

 any appropriate provision as long as such provision is consistent with applicable sections of the

 Bankruptcy Code. In addition, section 105(a) of the Bankruptcy Code provides that the Court may

 issue “any order, process, or judgment that is necessary or appropriate to carry out the provisions

 of this title.” 11 U.S.C. § 105(a).

          67.       Article IX of the Plan provides for substantive consolidation of the Debtors for

 purposes of voting, distributions and implementation of all alternatives of the Plan.

          68.       The Trustee believes that substantive consolidation of the Debtors is in the best

 interests of the Estate and all parties-in-interest and meets the standards set forth in this Court’s

 opinion In re ADPT DFW Holdings, LLC, 574 B.R. 87 (Bankr. N.D. Tex. 2017). The substantive

 consolidation analysis is much simpler in these cases than in ADPT DFW Holdings. These cases

 involve only two Debtors—Acis LP and its general partner, Acis GP. Acis LP has assets where

 Acis GP does not, but the two Debtors share a nearly identical set of creditors. To the best of the

 Trustee’s knowledge, Acis GP’s liability is derived from the liabilities of Acis LP because Acis

 GP is the general partner. No creditors or parties in interest have objected to substantive

 consolidation, nor will any of them be harmed by the substantive consolidation requested by the

 Trustee.

          69.       The Plan also provides that the Court will retain jurisdiction until the closing of

 these cases as to all matters involving the Plan and the Claims allowance and distribution process.

 (Plan art. XII.) These provisions are appropriate because they are matters pertaining to the

 interpretation, implementation, or execution of a confirmed plan. See, Balestri v. Hunton &

 Williams, LL) (In re Hallwood Energy), 2012 Bankr. LEXIS 6066, at *18 (Bankr. N.D. Tex. Feb.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 22
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 32 of 69



 8, 2012) (citing Bank of La. v. Craig’s Stores of Tex., Inc. (In re Craig’s Stores of Tex., Inc.), 266

 F.3d 388, 391 (5th Cir. 2001)). Accordingly, the continuing jurisdiction of the Court provided for

 in the Plan is consistent with applicable law and therefore permissible under section 1123(b)(6) of

 the Bankruptcy Code.

          70.       The Plan also contains a temporary injunction (applicable in the event that the Plan

 is confirmed under the terms and provisions of Plan B or Plan C) that effectively continues a

 preliminary injunction already issued in the Highland Adversary which will expire by its terms

 upon confirmation of the Plan. The grounds for issuance of such injunction through the Plan are

 addressed in detail in this brief after discussion of the remaining requirements for confirmation of

 the Plan.

          (iv)      Section 1123(c) of the Bankruptcy Code

          71.       Section 1123(c) applies only in a case concerning an individual and therefore does

 not apply to the Chapter 11 Cases.

          (v)       Section 1123(d): Cure of Defaults

          72.       Section 1123(d) provides that “if it is proposed in a plan to cure a default the amount

 necessary to cure the default shall be determined in accordance with the underlying agreement and

 applicable nonbankruptcy law.” Section 8.02 of the Plan provides that all payments that may be

 required by section 365(b)(1) of the Bankruptcy Code to satisfy any Cure Claim shall be made by

 the Acis Trustee as soon as reasonably practical after the Effective Date or on upon such terms as

 may be otherwise agreed upon by the Acis Trustee and the holder of such Cure Claim. However,

 in the event of a dispute regarding the amount of any Cure Claim, the cure of any other defaults,

 the ability of Oaktree or the Reorganized Debtor to provide adequate assurance of future

 performance, or any other matter pertaining to assumption or assignment of an Executory Contract,

 the Acis Trustee shall make such cure payments and cure such other defaults and provide adequate


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 23
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 33 of 69



 assurance of future performance, all as may be required by section 365(b)(1) of the Bankruptcy

 Code, following the entry of a Final Order by the Court resolving such dispute. Accordingly, the

 Plan complies with section 1123(d) of the Bankruptcy Code.

          73.       As demonstrated by the foregoing, the Plan fully complies with the requirements

 of sections 1122 and 1123, as well as with all other provisions of the Bankruptcy Code, and thus

 satisfies the requirement of section 1129(a)(1) of the Bankruptcy Code.

 B.       Section 1129(a)(2): The Trustee Has Complied with the Bankruptcy Code.

          74.       Section 1129(a)(2) of the Bankruptcy Code requires that the plan proponent comply

 with the applicable provisions of the Bankruptcy Code. The legislative history of section

 1129(a)(2) reflects that this provision is intended to encompass the disclosure and solicitation

 requirements under sections 1125 and 1126 of the Bankruptcy Code. See H.R. REP. NO. 95-595,

 at 412 (1977); S. REP. NO. 95-989, at 126 (1978) (“Paragraph (2) [of § 1129(a)] requires that the

 proponent of the plan comply with the applicable provisions of chapter 11, such as section 1125

 regarding disclosure.”); See also, In re ADPT DFW Holdings LLC, 577 B.R. 232, 245 (Bankr.

 N.D. Tex. 2017); In re Mirant Corp., 2007 Bankr. LEXIS 4951, at * 25 (Bankr. N.D. Tex. Apr.

 27, 2007); In re Seatco, Inc., 257 B.R. 469, 479 (Bankr. N.D. Tex. 2001).

          75.       As set forth more fully below, the Trustee has complied with the applicable

 provisions of the Bankruptcy Code, including the requirements of sections 1125 and 1126,

 regarding disclosure and solicitation of the Plan.

          (i)       The Trustee Complied with Section 1125 of the Bankruptcy Code.

          76.       Section 1125(b) of the Bankruptcy Code provides, in pertinent part:

                    An acceptance or rejection of a plan may not be solicited after the
                    commencement of the case under [the Bankruptcy Code] from a
                    holder of a claim or interest with respect to such claim or interest,
                    unless, at the time of or before such solicitation, there is
                    transmitted to such holder the plan or a summary of the plan, and a


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 24
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 34 of 69



                    written disclosure statement approved, after notice and a hearing,
                    by the court as containing adequate information. . . .

          77.       In the Disclosure/Scheduling Order, the Court conditionally approved the

 Disclosure Statement as containing “adequate information” in accordance with section 1125 of the

 Bankruptcy Code.            The Trustee requests final approval of the Disclosure Statement at the

 Combined Hearing.

          78.       On July 30, 2018, the Trustee mailed the Solicitation Packages. On August 17,

 2018, the Trustee filed the Ballot Tabulation, which states that solicitation and tabulation of votes

 on the Plan took place in accordance with the Disclosure/Scheduling Order. The Trustee did not

 solicit acceptances of the Plan from any holders of Claims or Interests prior to the transmission of

 the conditionally approved Disclosure Statement. In addition, the Ballot Tabulation describes the

 methodology for the tabulation and results of voting with respect to the Plan.

          (ii)      The Trustee Complied with Section 1126 of the Bankruptcy Code.

          79.       Section 1126 of the Bankruptcy Code specifies the requirements for acceptance of

 a plan of reorganization. Pursuant to section 1126, only holders of allowed claims in impaired

 classes of claims or equity interests that will receive or retain property under a plan on account of

 such claims or equity interests may vote to accept or reject such plan. Section 1126 provides, in

 pertinent part, as follows:

                    (a) The holder of a claim or interest allowed under section 502 of
                    [the Bankruptcy Code] may accept or reject a plan.

                                                             ***

                    (f) Notwithstanding any other provision of this section, a class that
                    is not impaired under a plan, and each holder of a claim or interest
                    of such class, are conclusively presumed to have accepted the plan,
                    and solicitation of acceptances with respect to such class from the
                    holders of claims or interests of such class is not required.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 25
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 35 of 69



                    (g) Notwithstanding any other provision of this section, a class is
                    deemed not to have accepted a plan if such plan provides that the
                    claims or interests of such class do not entitle the holders of such
                    claims or interests to receive or retain any property under the plan
                    on account of such claims or interests.

          80.       As set forth in the Ballot Tabulation and above, the Trustee solicited acceptances

 of the Plan from all known holders of Claims and Interests in impaired Classes.

          81.       An impaired class of claims is deemed to have accepted a plan if holders of at least

 two-thirds in amount and more than one-half in number of the claims in the class, considering only

 the claims whose holders vote, cast votes to accept the plan. 11 U.S.C. § 1126(c). Likewise, an

 impaired class of interests is deemed to have accepted a plan if holders of at least two-thirds in

 amount of the interests in the class, considering only the interests whose holders vote, cast votes

 to accept the plan. As evidenced in the Ballot Tabulation, the Plan has been accepted by the

 requisite majorities in Classes 3 and 4 under the Plan. The Trustee submits, therefore, that the

 requirements of section 1129(a)(2) of the Bankruptcy Code have been satisfied.

 C.       Section 1129(a)(3): The Plan Has Been Proposed in Good Faith and Not by Any
          Means Forbidden by Law.

          (i)       The Plan is Proposed in Good Faith.

          82.       Section 1129(a)(3) of the Bankruptcy Code requires that a plan be “proposed in

 good faith and not by any means forbidden by law.” “Where the plan is proposed with the

 legitimate and honest purpose to reorganize and has a reasonable hope of success, the good faith

 requirement of §1129(a)(3) is satisfied.” In re Sun Country Dev., Inc., 764 F.2d 406, 408 (5th Cir.

 1985). See also, Western Real Estate Equities, L.L.C. v. Vill. At Camp Bowie I, L.P. (In re Vill. At

 Camp Bowie I, L.P.), 710 F.3d 239 (5th Cir. 2013); In re Cajun Elec. Power Co-op., Inc., 150 F.3d

 503, 519 (5th Cir. 1998); In re T-H New Orleans P'ship, 116 F.3d 790, 802 (5th Cir. 1997).




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 26
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 36 of 69



          83.       The Highland and HCLOF argue that the Plan has not been proposed in good faith

 because of the Trustee’s proposed transaction with Oaktree under Plan A. (Highland Objection,

 p. 11). Those issues are discussed in the Limited Issues Brief and in the Limited Issues Reply.

          84.       Highland and HCLOF also argue that the Plan is not proposed in good faith as

 required by section 1129(a)(3) because the Trustee allegedly did not negotiate the economic terms

 of the Oaktree proposal, did not negotiate the highest possible price for the Subordinated Notes,

 and is favoring Terry over other creditors. They also argue that Terry was motivated by bad faith

 when he filed and prosecuted the involuntary petitions and that the Trustee has adopted that bad

 faith. (Highland Objection, pp. 14-16).

          85.       The Trustee and his financial advisors ran a process to find the highest and best

 offer from parties willing to serve as a Plan funder under the Plan. Indeed, the Trustee’s financial

 advisors contacted approximately forty-eight (48) entities that they believed would be qualified

 and have an interest in serving as a potential Plan funder under any of the Plan alternatives. Of

 these entities, more than half signed non-disclosure agreements with the Trustee, and

 approximately nine (9) submitted proposals. Although the Trustee did not receive any additional

 Plan A proposals, he did receive proposals from parties willing to serve as a sub-advisor under

 Plan B, and ultimately sought approval of Brigade because, in the Trustee’s good faith business

 judgement, it submitted the most favorable proposal.

          86.       The Trustee, as the plan proponent, has met his good faith obligation under the

 Bankruptcy Code. The Trustee proposed the Plan with the purpose of expeditiously distributing

 value to creditors and not by any means forbidden by law. Inasmuch as the Plan promotes the

 rehabilitative objectives and purposes of the Bankruptcy Code, the Plan and the related documents

 have been filed in good faith and the Trustee has satisfied his obligations under section 1129(a)(3).




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 27
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 37 of 69



          (ii)      The Plan is Not Proposed by Any Means Forbidden by Law.

          87.       Highland and HCLOF also argue that the Plan cannot meet the requirements of

 section 1129(a)(3) of the Bankruptcy Code because the transaction proposed in Plan A—the

 transfer of the Subordinated Notes from the Estate to Oaktree is a sale of securities that must (but

 does not) comply with the Securities Act of 1933 (the “33 Act”) or the Investment Advisers Act

 of 1940 (the “IAA”). (Highland Objection, pp. 11-14).

          88.       Contrary to Highland's assertions, the Plan does not violate the 33 Act or the IAA.

 Highland first asserts that because the Trustee has not filed a registration statement, as required

 under Section 5 of the ‘33 Act, regarding the transfer of the Subordinated Notes to Oaktree, the

 Plan violates applicable securities law. (Highland Objection ¶¶ 28-33). Further, Highland argues

 that the exemption from securities laws pursuant to section 1145 of the Bankruptcy Code does

 provide a safe harbor to the Oaktree transaction. (Id. ¶¶ 30-33).

          89.       S.E.C. Rule 144A, however, exempts private placements to qualified institutional

 buyers from the registration requirements of section 5 of the Securities Act. See 15 U.S.C.

 77e(d)(2); 17 C.F.R. § 230.144A. Oaktree is a “qualified institutional buyer” as that term is

 defined under Rule 144A, and therefore the Oaktree transaction is exempt from the registration

 requirements of section 5. The Asset Transfer Agreement draft, attached as Exhibit A to the Plan,

 makes clear that the transfer of the Subordinated Notes is pursuant to Rule 144A. See Plan, Exhibit

 A § 3.5. Accordingly, the transfer of Subordinated Notes to Oaktree is exempt from the registration

 requirements of Section 5 of the ‘33 Act, and the Trustee need not avail himself of the exemption




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 28
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50            Page 38 of 69



 provided by section 1145 of the Bankruptcy Code.5 Highland’s argument that the Plan violates

 the '33 Act ignores the nature of the transaction and is meritless.

          90.       Highland’s assertions that the Plan violates the IAA and that the Trustee has

 violated fiduciary duties to the investors of the CLOs are also unfounded. In sum, Highland argues

 that because the Trustee has a duty to maximize value for creditors in the Bankruptcy Cases, rather

 than an “undivided loyalty” to investors, he is compelled to violate the IAA—essentially that

 compliance with the Bankruptcy Code is a violation of the IAA. Highland also contends that by

 merely proposing the Plan, which Highland believes violates securities laws and the IAA, the

 Trustee has violated the IAA. Here, Highland assumes that the Plan violates the IAA, which would

 violate section 1129(a)(3) of the Bankruptcy Code, and therefore the Trustee has violated the IAA

 by proposing the Plan. By assuming its premise, this argument is patently circular.

          91.       Moreover, the Trustee is not an “investment adviser” as that term is understood

 under the IAA—the Trustee does not provide investment advice, and he does not hold himself out

 as an investment adviser. Mindful of his fiduciary duties, the Trustee is well aware of Acis LP’s

 obligation to comply with the IAA, and he has accordingly retained professionals and special

 counsel to advise him with respect to such obligations. Additionally, by exercising his rights and

 fulfilling his duties under the Bankruptcy Code, including defending against or satisfying claims

 made against the bankruptcy estates (as is being done with respect to HCLOF's claim, under the

 Plan), and carrying out the continued operations of Acis LP, as a registered investment adviser,

 the Trustee is not in violation of an adviser's fiduciaries duties under the IAA.




 5In addition to Rule144A, the Trustee reserves all rights to assert any other exceptions to the registration requirement
 under the '33 Act that would apply to the transfer of the Subordinated Notes to Oaktree.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement                   Page 29
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 39 of 69



          92.       In the case cited by Highland from the Eastern District of Michigan, the district

 court disagreed that the chapter 11 trustee could not also fulfill the debtor's duties as a “plan

 administrator” under an ERISA plan, and the chapter 11 trustee was therefore obligated to

 terminate the ERISA plan pursuant to its terms. In re New Ctr. Hosp., 200 B.R. 592, 593-95 (E.D.

 Mich. 1996). Unlike the New Center Hospital case, the Trustee is not arguing that the IAA is

 inapplicable to the Debtor, but rather that he has not violated the IAA.

          93.       The Trustee contends that he has fulfilled any duties owed under the Bankruptcy

 Code and other applicable law, including the IAA. Highland's allegations that the Trustee has

 violated the IAA, the ‘33 Act, or any other securities laws are without foundation and, ultimately,

 meritless.

 D.       Section 1129(a)(4): The Plan Provides That Professional Fees and Expenses are
          Subject to Court Approval.

          94.       Section 1129(a)(4) of the Bankruptcy Code requires that certain professional fees

 and expenses paid by the plan proponent, the debtor, or a person receiving distributions of property

 under the plan, be subject to approval by the Court. Sections 2.05(e), 3.05(e) and 4.05(e) of the

 Plan provide that Estate Professionals shall each file and submit a final fee application to the Court

 no later than sixty (60) days after the Effective Date. An Administrative Expense Claim by an

 Estate Professional in respect of which a final fee application has been properly filed and served

 shall become an Allowed Administrative Expense only to the extent allowed by Final Order of the

 Court. Section 12.01(b) of the Plan further provides that the Court shall retain jurisdiction to “hear

 and determine any and all applications for payments of fees and expenses pursuant to this Plan to

 any Estate Professional pursuant to sections 330 or 503 of the Bankruptcy Code.” All fees and

 expenses of Professionals accrued through the Confirmation Date thus remain subject to final

 review by the Court for reasonableness pursuant to sections 330, 331, and 503(b).



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 30
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 40 of 69



           95.      The foregoing procedures for the Court’s review and ultimate determination of the

 fees and expenses to be paid by the Debtors satisfy the objectives of section 1129(a)(4). See,

 ADPT DFW Holdings LLC, 577 B.R. 232, 246 (Bankr. N.D. Tex. 2017). Based upon the

 foregoing, the Plan complies with the requirements of section 1129(a)(4).

 E.        Section 1129(a)(5): The Trustee Has Disclosed All Necessary Information
           Regarding Directors, Officers, and Insiders.

           96.      Section 1129(a)(5) of the Bankruptcy Code requires that the plan proponent

 disclose the identity and affiliations of the proposed officers and directors of the reorganized

 debtor; that the appointment or continuance of such officers and directors be consistent with the

 interests of creditors and equity security holders and with public policy; and that there be disclosure

 of the identity and compensation of any insiders to be retained or employed by the reorganized

 debtor.

           97.      The Trustee has satisfied the foregoing requirements. With respect to Plan A, the

 only officer, director, or trustee under the Plan is the Acis Trustee. The Plan has been modified to

 name Robin Phelan as the Acis Trustee and to provide that his current hourly rate is $750.00.

 Since the Acis Trustee is the same as the Trustee in these cases, his identity, affiliations, and

 compensation have been vetted, and his appointment is consistent with the interests of creditors

 and interest holders and with public policy. Under Plans B and C, the same Acis Trustee will also

 control Cash, Estate Accounts Receivable, Estate Claims and Estate Defenses and will liquidate

 them for the benefit of creditors.

           98.      Under Plans B and C, the Reorganized Debtor does not have officers, directors, or

 trustees at this point. Terry will own 100% of the equity interests of the Reorganized Debtor and

 can structure them as he wishes. Under Plan B, Brigade will act as the sub-servicer and sub-

 advisor. Based on prior proceedings before this Court and filings and disclosures about Brigade,



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 31
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 41 of 69



 parties have sufficient information about its selection for that role and its affiliations and

 compensation. The Trustee believes Brigade’s role is consistent with the best interests of all parties

 in interest and with public policy. Under Plan C, Terry will act as Chief Trader. The parties are

 aware of his identity and affiliations, and, since he is not an insider, the Trustee is not required by

 section 1129(a)(5)(B) to disclose his compensation. The Trustee believes Terry’s role is consistent

 with the best interests of all parties in interest and with public policy.

          99.       Highland and HCLOF argue that the Plan does not disclose information about

 Terry’s affiliations with parties-in-interest or his affiliations with the Trustee as required by section

 1129(a)(5)(A)(i) for purposes of Plan C and that Terry’s affiliation with the Trustee makes him a

 non-statutory insider. (Highland Objection, pp. 16-19).

          100.      Under Plan C, the Reorganized Debtor will hire Terry as Chief Trader, which may

 make him an officer of the successor to the Debtors within the contemplation of section

 1129(a)(5)(i). Accordingly, in the scenario of Plan C, the disclosures required by this provision

 may be applicable to Terry.

          101.      Contrary to the objecting parties’ protestations, the Trustee has already made the

 requisite disclosures regarding Terry’s role prior to the commencement of these cases and his

 anticipated role after confirmation of the Plan. Terry’s management of the CLOs as an employee

 of Highland, his termination by Highland, his obtaining an arbitration award and subsequent

 judgment against the Debtors, and his filing of the involuntary bankruptcy petitions against the

 Debtors are all detailed in the Disclosure Statement. (Disclosure Statement at p. 26). Likewise,

 Terry’s expected role as Chief Trader of the Reorganized Debtor post-confirmation is fully

 disclosed in both the Plan and the Disclosure Statement. (See Plan § 4.21; Disclosure Statement

 at pp. 24, 49). No further disclosure is required under section 1129(a)(5). See In re Premiere




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 32
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 42 of 69



 Network Servs., Case No. 04-33402-HDH-11, 2005 Bankr. LEXIS 2298, at *8 (Bankr. N.D. Tex.

 Jul. 1, 2005) (plan describing “in general terms the proposed operations of the successor to the

 debtor” held to be “[s]ufficient disclosure” under § 1129(a)(5)(A)).

          102.      Respectfully, the Trustee submits that the objection under section 1129(a)(5) is a

 red herring. Highland and HCLOF concede that the Trustee has disclosed the “identity” of Terry

 but argue insistently that Terry’s “affiliations” have not been adequately disclosed. Specifically,

 the objecting parties express grave concern over Terry’s “relationship and affiliations with other

 parties in interest in this case including (without limitation) Oaktree, Brigade Capital Management,

 L.P., and Cortland Capital Markets Services LLC.” (Highland Objection at p. 17.) In addition,

 Highland and HCLOF claim that there is some “post-petition affiliation between Terry and the

 Chapter 11 Trustee himself” that needs disclosure. (Id.) Highland and HCLOF offer not a shred of

 support that any such “affiliations” exist. In fact, no such affiliations exist that would require

 disclosure under section 1129(a)(5). To the extent that any further disclosure is required, the

 Trustee will provide it at the Confirmation Hearing. See Premiere Network, 2005 Bankr. LEXIS

 2298, at *8 (disclosure requirement of § 1129(a)(5)(B) satisfied by evidence presented at

 confirmation hearing).

          103.      Highland and HCLOF go on to argue that Terry is an insider – not of the Debtors,

 but of the Trustee. Highland and HCLOF implicitly concede, as they must, that Terry cannot

 possibly be considered an insider of the Trustee within the statutory definition of the term.

 (Highland Objection, p. 17.) See 11 U.S.C. § 101(31). Undeterred, Highland and HCLOF proceed

 to weave a fanciful theory that Terry is a “non-statutory insider” of the Trustee.

          104.      Courts have in fact noted that the categories set forth in section 101(31) were not

 meant to be exhaustive, and that, in an appropriate case, a person or entity can be considered an




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 33
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 43 of 69



 insider without fitting into any of the statutory descriptions. See, e.g., Browning Interests v. Allison

 (In re Holloway), 955 F.2d 1008, 1010 (5th Cir. 1992) (debtor’s ex-wife of over 20 years was non-

 statutory insider); Think3 Litig. Tr. v. Zuccarello (In re Think3, Inc.), 529 B.R. 147, 190-91 (Bankr.

 W.D. Tex. 2015) (reviewing pleadings for allegations that defendants were non-statutory insiders);

 Lynch v. Winslow (In re Winslow), 473 B.R. 94, 106 (E.D.N.C. 2012) (debtor’s auctioneer was not

 non-statutory insider). However, the concept of the non-statutory insider is not nearly so expansive

 as Highland and HCLOF would have the Court believe, and certainly not broad enough to include

 Terry and the Trustee.

          105.      As the Fifth Circuit has observed, courts consider two factors in determining

 whether non-statutory insider status exists:

                    (1) the closeness of the relationship between the [potential insider]
                    and the debtor; and (2) whether the transactions between the
                    [potential insider] and the debtor were conducted at arm's length.

 Holloway, 955 F.2d at 1011; see also U.S. Bank N.A. v. Village at Lakeridge, LLC, 138 S. Ct. 960,

 965 (2018) (mentioning two-part test without addressing correctness of the standard).

          106.      Applying these two factors to the present case, it is apparent that Terry cannot be

 considered an insider of the Trustee. First, Terry and the Trustee had no relationship, close or

 otherwise, before the commencement of these cases. Since the Petition Date, the relationship

 between Terry and the Trustee has not been any closer or otherwise different from the typical

 relationship between a very large creditor and the estate representative in any chapter 11 case.

 Second, all of the dealings between Terry and the Trustee in these cases, including negotiation of

 the terms of the Plan, have been fair and at arm’s length. Without question, Terry’s has been an

 important and influential voice in these proceedings. He commenced these cases by filing the

 involuntary petitions. Except for the HCLOF Claim, Terry’s claim is by far the largest in this

 reorganization. However, his position is due solely to the size and priority of his claim with respect


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 34
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 44 of 69



 to the other claims in these cases. The fact that a creditor holds a strong or even dominant

 bargaining position does not make it an insider. In re Friedman, 126 B.R. 63, 70 (B.A.P. 9th Cir.

 1991); MCA Fin. Grp. v. Hewlett-Packard (In re Fourthstage Techs.), 355 B.R. 155, 160 (Bankr.

 D. Ariz. 2006).

          107.      Highland’s and HCLOF’s case authorities are inapposite. With the exception of the

 Supreme Court’s opinion in Lakeridge and the Fifth Circuit’s Holloway decision, cited above,

 none is binding on this Court. Moreover, all the cases are distinguishable in material ways. The

 Supreme Court’s opinion in Lakeridge was about the appropriate standard of review; the Court

 specifically withheld judgment on whether the lower courts were correct on the substantive ruling.

 138 S. Ct. at 965. In In re Allegheny International, Inc., 118 B.R. 282 (Bankr. W.D. Pa. 1990), the

 insider was a claim-purchasing investor and plan proponent that was guilty of all manner of

 inequitable conduct. See id. at 299. Holloway involved the debtor’s ex-wife of more than twenty

 years who engaged in transactions with the debtor with clearly personal, not commercial,

 motivation. 955 F.2d at 1013-14. In the Ninth Circuit’s opinion in Lakeridge, the court held that

 the purchaser of a claim from a statutory insider does not thereby become an insider of the debtor.

 U.S. Bank N.A. v. Village at Lakeridge, LLC (In re Village at Lakeridge, LLC), 814 F.3d 993, 1003

 (9th Cir. 2015), aff’d, 138 S. Ct. 960 (2018). In Anstine v. Carl Zeiss Meditec AG (In re U.S.

 Medical, Inc.), 531 F.3d 1272 (10th Cir. 2008), the court addressed the legal issue whether a party’s

 “extreme closeness” to the debtor can make him a non-statutory insider, without any showing of

 control, attempt to control, undue influence, or dealings at less than arm’s length. The Tenth Circuit

 adopted the two-part test cited above. Id. at 1282.

          108.      In In re South Beach Securities, Inc., 376 B.R. 881 (Bankr. N.D. Ill. 2007), the

 debtor was a corporate shell with no business operations or income. Its only assets were net




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 35
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 45 of 69



 operating losses, and its only creditor was a company whose officer and director signed the

 debtor’s chapter 11 petition as “authorized agent.” Initially, the chapter 11 filing was dismissed as

 having been filed in bad faith, but the dismissal was reversed on appeal. Later the debtor proposed

 a plan. At the confirmation hearing, the court found that the creditor was a non-statutory insider of

 the debtor. Id. at 893. In In re Rexford Properties, LLC, 557 B.R. 788 (Bankr. C.D. Cal. 2016), an

 investment trust that held an equity interest in the debtor and was managed by a personal friend of

 the debtor’s founder was held to be an insider of the debtor, where principals in the debtor were

 also income beneficiaries of the trust, and there was evidence that the trust extended a loan to the

 debtor not on an arm’s-length basis. Id. at 801.

          109.      In all of the cases cited by Highland and HCLOF where the court found non-

 statutory insider status, the facts showed both a high degree of closeness between the debtor and

 the other party and a transaction or course of dealings where the parties did not interact at arm’s

 length. Neither is present here. Terry and the Trustee had no relationship of any kind prior to the

 Petition Date, and their relationship since then has not been characterized by anything like the kind

 of closeness that is found in the cases on which Highland and HCLOF rely. Likewise, all of the

 interactions between Terry and the Trustee have been at arm’s length.

          110.      Additionally, none of the cases that Highland and HCLOF cite involves an insider

 of a chapter 11 trustee. It is not surprising that Highland and HCLOF could not produce a single

 case in which a court held that a person or entity was a non-statutory insider of a chapter 11 trustee.

 Often, a trustee is appointed in a chapter 11 case for the very purpose of bringing in an outside

 representative of the estate, someone who will be free from actual or potential influences resulting

 from the debtor’s prepetition activities. See In re Nartron Corp., 330 B.R. 573, 592 (Bankr. W.D.

 Mich. 2005) (lack of evenhandedness in dealing with insiders is a factor in appointment of chapter




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 36
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 46 of 69



 11 trustee). The Trustee had no relationship with Terry prepetition, and their relationship during

 the pendency of these cases has been professional and at arm’s length. The argument that Terry is

 an insider of the Trustee is wholly unsupported by the relevant facts and applicable law.

          111.      Based upon the foregoing, the Plan satisfies section 1123(a)(5) of the Bankruptcy

 Code.

 F.       Bankruptcy Code Section 1129(a)(6) Is Not Applicable.

          112.      Bankruptcy Code section 1129(a)(6) provides that “[a]ny governmental regulatory

 commission with jurisdiction, after confirmation of the plan, over the rates of the debtor has

 approved any rate change provided for in the plan, or such rate change is expressly conditioned on

 such approval.” First, the Trustee submits that this provision of the Bankruptcy Code is not

 applicable to the chapter 11 cases as neither the Debtors nor the Reorganized Debtor are subject

 to any form of rate regulation that would require such regulatory approval to satisfy section

 1129(a)(6) of the Bankruptcy Code. Second, by its terms, section 1129(a)(6) of the Bankruptcy

 Code applies only where a rate change is “provided for in the plan.” Here, the Plan provides for

 no such rate change. For these reasons, section 1129(a)(6) is inapplicable.

 G.       The Plan Satisfies the Requirements of Section 1129(a)(7) of the Bankruptcy Code.

          113.      Section 1129(a)(7) of the Bankruptcy Code requires, in relevant part, that with

 respect to each impaired class of claims or interests, each holder of a claim or interest in such class

 either

                    (i) has accepted the plan; or

                    (ii) will receive or retain under the plan on account of such claim
                    or interest property of a value, as of the effective date of the plan,
                    that is not less than the amount that such holder would so receive
                    or retain if the debtor were liquidated under chapter 7 of [the
                    Bankruptcy Code] on such date.”




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 37
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 47 of 69



          114.      Section 1129(a)(7) of the Bankruptcy Code is often referred to as the “best-

 interests-of-creditors” test or the “liquidation” test. The best-interests test focuses on individual

 dissenting creditors rather than classes of claims. See Bank of Am. Nat’l Trust & Sav. Ass’n v. 203

 N. LaSalle St. P’ship, 526 U.S. 434 (1999). Under the best-interests test, the court “must find that

 each [non-accepting] creditor will receive or retain value that is not less than the amount he would

 receive if the debtor were liquidated [under chapter 7 of the Bankruptcy Code].” Id. at 440; United

 States v. Reorganized CF&I Fabricators, Inc., 518 U.S. 213, 228 (1996).

          115.      Highland and HCLOF argue that the Plan does not meet the best interest of

 creditors’ test required by section 1129(a)(7) because the Trustee purportedly has not shown that

 the creditors who have not accepted the plan will receive no less under the Plan than they would

 in a hypothetical chapter 7 liquidation. (Highland Objection, pp. 20-21).

          116.      Under the Plan, there is only one unimpaired Class, Class 1 (Secured Tax Claims).

 By its terms, the best-interests test does not apply to an unimpaired class. Therefore, the Plan’s

 treatment of Class 1 is consistent with section 1129(a)(7).

          117.      The best-interests test is also satisfied by the treatment of the other Classes under

 the Plan, which are impaired, including Class 5, the only class that did not vote to accept the Plan.

          118.      As discussed in the Disclosure Statement at page 23 and its Exhibit “2-D,” the

 Trustee’s financial advisors and investment bankers, Miller Buckfire and Stifel, prepared a Chapter

 7 Liquidation Analysis that reflects projected Distributions of between approximately 0% and 46%

 to the holder of an Allowed Class 3 Terry Claim, between approximately 0% and 46% to each

 holder of an Allowed Class 4 General Unsecured Claim, and approximately 0% to each holder of

 an Allowed Class 5B Insider Claim, under a Chapter 7 Liquidation Analysis. The anticipated

 Distributions to the holders of Allowed Class 3 and Class 4 Claims is significantly lower in a




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 38
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 48 of 69



 chapter 7 liquidation than under any of the alternative plans within the Plan. This is based on a

 number of factors, including the fact that, in a chapter 7 liquidation, Acis LP would not receive the

 $8.6 million it would receive from Oaktree for the PMAs under Plan A, nor would it receive the

 approximately $13.5 million in revenue under the PMAs for continuing to manage the Acis CLOs

 as proposed under Plan B and Plan C. The loss of value from the PMAs that would occur in a

 chapter 7 liquidation will result in a much lower distribution to creditors.

          119.      At the Combined Hearing, the Trustee and his financial advisors and investment

 bankers will testify as to this confirmation requirement. Exhibit 2-D to the Disclosure Statement

 sets forth the Trustee’s Liquidation Analysis and Exhibits 2-A, 2-B(3), and 2-C set forth the

 projected recoveries under each Plan alternative. These reports reflect that a liquidation of the

 Debtors’ assets and distribution of the proceeds to creditors in a hypothetical chapter 7 case would

 likely result in lower recovery for all creditors than the projected recoveries under the Plan. The

 Liquidation Analysis (i) is persuasive and credible, (ii) has not been controverted by other

 evidence, (iii) is based on reasonable and sound assumptions, and (iv) provides a reasonable

 estimate of the liquidation values of the assets of the Debtors’ estates upon conversion to a case

 under chapter 7 of the Bankruptcy Code. The Liquidation Analysis shows that holders of Claims

 and Interests will receive or retain at least as much under the Plan (in many cases, much more)

 than they would receive in a hypothetical liquidation under chapter 7 of the Bankruptcy Code.

 Based upon the foregoing, the Trustee submits the best-interests test is satisfied.

 H.       Section 1129(a)(9): The Plan Provides for Payment in Full of All Allowed Priority
          Claims.

          120.      Section 1129(a)(9) of the Bankruptcy Code requires that persons holding claims

 entitled to priority under section 507(a) receive specified cash treatment under the plan, unless the

 holder of a particular claim agrees to a different treatment with respect to such claim.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 39
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 49 of 69



           (i)      Section 1129(a)(9)(A): Administrative Expenses.

           121.     The Plan satisfies section 1129(a)(9)(A) with respect to Administrative Expenses.

 The Plan provides that each holder of an Allowed Administrative Expense shall receive full

 payment of its Claim on the later of the Effective Date or the tenth (10th) Business Day after it is

 Allowed, unless some other treatment is agreed upon in writing. (Plan, §§ 2.05(b), 3.05(b), and

 4.05(b)). Thus, the Plan’s treatment of Administrative Expenses meets the requirements section

 1129(a)(9)(A).

           (ii)     Sections 1129(a)(9)(B) & (C) are Not Applicable.

           122.     There are no Claims against the Debtors like those referenced in section

 1129(a)(9)(B) & (C) of the Bankruptcy Code. Therefore these sections are not applicable.

           (iii)    Section 1129(a)(9)(D): Secured Tax Claims

           123.     The treatment of Secured Tax Claims under the Plan complies with the

 requirements of section 1129(a)(9)(D). The Plan provides that Allowed Secured Tax Claims will

 be paid in full on the Initial Distribution Date. The Trustee does not believe there are any such

 claims.

           124.      These treatment provisions are in full compliance with section 1129(a)(9)(D).

           125.     Based upon the foregoing, the Plan satisfies all the requirements of section

 1129(a)(9) of the Bankruptcy Code.

I.         Section 1129(a)(10) is Satisfied.

           126.     Section 1129(a)(10) of the Bankruptcy Code requires the affirmative acceptance of

 the Plan by at least one class of impaired claims, determined without including any acceptance of

 the plan by any insider. The Plan satisfies this requirement because Classes 3 and 4 voted to accept

 all three alternatives of the Plan.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 40
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 50 of 69



J.        Section 1129(a)(11): The Plan Is Not Likely To Be Followed By Liquidation Or The
          Need For Further Reorganization.

          127.      Section 1129(a)(11) of the Bankruptcy Code requires that, as a condition to

 confirmation, the Court determine that the Plan is feasible. Specifically, the Court must determine

 that:

                    Confirmation of the plan is not likely to be followed by the
                    liquidation, or the need for further financial reorganization, of the
                    debtor or any successor to the debtor under the plan, unless such
                    liquidation or reorganization is proposed in the plan.

 As described below, and as will be shown at the Combined Hearing, the Plan meets the

 requirements of this provision.

          (i)       Legal Standard

          128.      The feasibility test set forth in section 1129(a)(11) requires the Court to determine

 that confirmation of the Plan is not likely to be followed by the liquidation, or a need for further

 financial reorganization, of the Debtors or any successor to the Debtors under the Plan, other than

 as proposed in the Plan. To satisfy section 1129(a)(11) of the Bankruptcy Code the Trustee need

 not prove a guaranteed success, but only a reasonable probability of success. In re Thru, Inc., 2017

 Bankr. LEXIS 1902 (Bankr. N. D. Tex. Jul. 10, 2017) (citing Fin. Sec. Assurance Inc. v. T-H New

 Orleans Ltd. P’ship (In re T-H Orleans Ltd. P’ship), 116 F.3d 790, 801 (5th Cir. 1997)). Courts

 often consider several factors is determining whether a plan is feasible, including (1) capital

 structure, (2) earning power, (3) economic conditions, (4) the ability of management, (5) the

 probability of continuation of management, and (6) other related facts. Id. (citing In re Couture

 Hotel, 536 B.R. 712 (Bankr. N. D. Tex. 2015).

          (ii)      The Plan Satisfies the Feasibility Requirement

          129.      Applying the foregoing legal standards, the Plan satisfies the feasibility

 requirement of section 1129(a)(11) of the Bankruptcy Code. For purposes of determining whether


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 41
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 51 of 69



 the Plan satisfies the above-described feasibility standards, the Trustee has analyzed the Estate’s

 ability to fulfill obligations under the Plan. As part of this analysis, the Trustee’s financial advisors

 and investment bankers have prepared financial projections (the “Projections”), which are attached

 to the Disclosure Statement as Exhibits 2-A, 2-B(3), and 2-C.

          130.      The Projections were prepared in good faith and are based on reasonable

 assumptions. The Projections indicate that sufficient resources will exist to satisfy obligations

 under the Plan. Based upon the foregoing, the Plan has more than a reasonable likelihood of

 success and satisfies the feasibility standard of section 1129(a)(11).

          131.      Contrary to the Highland Objections (Highland Objection, p. 24), the Trustee has

 presented or will present at the Combined Hearing sufficient evidence of the Plan’s feasibility.

 K.       Section 1129(a)(12): All Statutory Fees Have Been Or Will Be Paid.

          132.      Section 1129(a)(12) of the Bankruptcy Code requires the payment of “[a]ll fees

 payable under section 1930 [of title 28 of the United States Code], as determined by the court at

 the hearing on confirmation of the plan.” Section 507 of the Bankruptcy Code provides that “any

 fees and charges assessed against the estate under [section 1930 of] chapter 123 of title 28” are

 afforded priority as administrative expenses. In accordance with sections 507 and 1129(a)(12) of

 the Bankruptcy Code, the Plan provides that the Acis Trustee or the Reorganized Debtor shall pay

 all fees payable pursuant to section 1930 of chapter 123 of title 28 of the United States Code on

 the Effective Date and thereafter as may be required. (Plan §§ 2.07, 3.07, and 4.07). Therefore, the

 Plan complies with section 1129(a)(12).




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 42
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 52 of 69



 L.       Sections 1129(a)(13), 1129(a)(14), 1129(a)(15), 1129(a)(16), 1129(c), 1129(d), and
          1129(e) Do Not Apply.

          133.      Section 1129(a)(13) of the Bankruptcy Code pertains to retiree benefits and is not

 applicable in these cases, because the Debtors do not have employees nor do they have any retiree

 obligations.

          134.      Section 1129(a)(14) of the Bankruptcy Code relates to the payment of domestic

 support obligations. The Debtors are not subject to any domestic support obligations, and, as such,

 section 1129(a)(14) does not apply.

          135.      Section 1129(a)(15) applies only in cases in which the debtor is an “individual” (as

 that term is defined in the Bankruptcy Code). The Debtors are not “individuals,” and, therefore,

 section 1129(a)(15) is inapplicable.

          136.      The Debtors are not corporations or trusts that are not moneyed, business, or

 commercial corporations or trusts, and, as such, section 1129(a)(16) of the Bankruptcy Code is

 inapplicable.

          137.      The Plan is the only plan filed in these cases and, as such, section 1129(c) of the

 Bankruptcy Code is inapplicable. Furthermore, although the Plan provides for three alternatives

 (Plan A, Plan B and Plan C), the Plan expressly states that confirmation of the Plan shall result in

 only one of the alternatives being the operative confirmed Plan, with the other two alternatives

 being then deemed void. (Plan §§ 2.01, 3.01 and 4.01).

          138.      The Plan has not been filed for the purpose of avoidance of taxes or the application

 of section 5 of the Securities Act of 1933, as amended, and thus section 1129(d) of the Bankruptcy

 Code is inapplicable.

          139.      The Chapter 11 Cases are not small business cases, as defined by the Bankruptcy

 Code, and, as such, section 1129(e) of the Bankruptcy Code is inapplicable.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 43
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 53 of 69



 M.       The Plan Satisfies the Requirements of Section 1127 Of the Bankruptcy Code.

          140.      A plan proponent may modify a plan at any time before confirmation so long as the

 plan, as modified, satisfies the requirements of sections 1122 and 1123 of the Bankruptcy Code.

 11 U.S.C. § 1127(a). In addition, Bankruptcy Rule 3019 provides, in relevant part:

                    after a plan has been accepted and before its confirmation, the
                    proponent may file a modification of the plan. If the court finds
                    after hearing on notice to the trustee, any committee appointed
                    under the Code, and any other entity designated by the court that
                    the proposed modification does not adversely change the treatment
                    of the claim of any creditor or the interest of any equity security
                    holder who has not accepted in writing the modification, it shall be
                    deemed accepted by all creditors and equity security holders who
                    have previously accepted the plan.

 As recited above, the Court conditionally approved the Disclosure Statement and authorized the

 Trustee to solicit acceptances of the Plan, via the Solicitation Packages, from creditors of and

 interest holders. The Trustee commenced the solicitation on July 30, 2018.

          141.      The deadline for voting to accept or reject the Plan was August 13, 2018.

          142.      On August 16, 2018, the Trustee filed the Plan Modification. The changes set forth

 in the Plan Modification do not constitute material modifications. None of the modifications to the

 Plan impact on the economics of the Plan vis-à-vis any Class of Claims or Interests. “A

 modification is material if it so affects a creditor or interest holder who accepted the plan that such

 entity, if it knew of the modification, would be likely to reconsider its acceptance.” 8 COLLIER ON

 BANKRUPTCY ¶ 3019.03 (15th ed. 1987); see also In re American Solar King Corp., 90 B.R. 808,

 826 (Bankr. W.D. Tex. 1988). Re-solicitation is necessary only if “the modification adversely

 affects the interests of a creditor who has previously accepted the plan, in more than a purely

 ministerial de minimis manner.” In re Frontier Airlines, Inc., 93 B.R. 1014, 1023 (Bankr. D. Colo.

 1988). Because the Trustee made no material modifications (i.e., a modification adversely

 affecting the treatment of a voting Class), the Trustee submits that re-solicitation of creditors and


 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 44
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 54 of 69



 interest holders is unnecessary and that acceptances of the Plan should be deemed acceptances of

 the Plan as modified.

 N.         The Plan Satisfies the Requirements of Section 1129(b).

            (i)     The Trustee Has Met All Requirements Other Than Section 1129(a)(8).

            143.    Highland and HCLOF argue that the Plan does not meet the prerequisites for

 cramdown consideration under section 1129(b). The argument is (a) not all classes voted in favor

 of the Plan so 1129(a)(8) cannot be satisfied; (b) therefore the Trustee must show that at least one

 class of impaired, non-insider creditors voted in favor of the Plan to satisfy 1129(a)(10); (c) the

 only accepting class is Class 3 (Terry); (d) Terry is an insider; and (e) Terry’s Claim is artificially

 impaired under the Plan. (Highland Objection, pp. 21-23).

            144.    It is correct that not all impaired classes voted in favor of the Plan—Class 5

 (Highland) rejected the Plan. But, two impaired classes—Class 3 (Terry) and Class 4 (General

 Unsecured Claims) did vote to accept the Plan. As discussed above in this brief, Terry is not an

 insider.

            145.    Terry’s Secured Claim is not artificially impaired. The Fifth Circuit has held that

 section 1129(a)(1) “does not distinguish between discretionary and economically driven

 impairment”… and “any alteration of a creditor’s rights, no matter how minor, constitutes

 ‘impairment.’” Western Real Estate Equities, L.L.C. v. Vill. At Camp Bowie I, L.P. (In re Vill. At

 Camp Bowie I, L.P.), 710 F.3d 239, 245 (5th Cir. 2013).

            146.    Highland and HCLOF also argue that the Plan improperly classifies both Terry’s

 Claim and Highland’s Claim in an attempt to gerrymander the classes to ensure one accepting

 class. The argument seems to be that there is no basis to separately classify Terry’s claim (now

 alone in Class 3) and that it should be in Class 4 with the other general unsecured claims. Likewise,




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 45
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 55 of 69



 Highland and HCLOF appear to argue that their claims should also be in Class 4. (Highland

 Objection, pp. 23-24).            As discussed above in Part V.A.(i) of the Brief, these Trustee’s

 classification of claims is appropriate.

          (ii)      The Trustee Has Met All Requirements for Cramdown Under Section 1129(b).

          147.      Highland and HCLOF also argue that, even if all other requirements are met, the

 Court cannot confirm the Plan because it is not fair and equitable. That argument appears to be

 based only on the assertion that he Plan is not proposed in good faith. (Highland Objection 22-23).

          148.      The Trustee contends that the Plan does not discriminate unfairly and is fair and

 equitable with respect to Class 5 (Highland), which is the only impaired, non-accepting class.

 O.       The Plan’s Temporary Injunction Prohibiting Optional Redemption is Necessary and
          Appropriate

          149.      If the Plan is confirmed based on the terms and provisions of Plan B or Plan C, the

 Plan provides for a limited and temporary continuation, after confirmation, of an injunction that is

 currently in place. The proposed injunction (the “Redemption Injunction”) states as follows:

                    IF THE PLAN IS CONFIRMED BASED ON THE TERMS AND
                    PROVISIONS OF PLAN B OR PLAN C, THEN PURSUANT TO
                    SECTIONS 105(a), 1123(a)(5) AND 1123(b)(6) OF THE
                    BANKRUPTCY CODE, THE ENJOINED PARTIES (DEFINED
                    BELOW) ARE HEREBY ENJOINED FROM: (a) PROCEEDING
                    WITH, EFFECTUATING, OR OTHERWISE TAKING (i) ANY
                    ACTION IN FURTHERANCE OF ANY OPTIONAL
                    REDEMPTION, CALL, OR OTHER LIQUIDATION OF THE
                    ACIS CLOS PREVIOUSLY OR CURRENTLY ISSUED BY ANY
                    SUCH PARTIES AND (ii) ANY OTHER ATTEMPT TO
                    LIQUIDATE THE ACIS CLOS BY ANY MEANS, (b) TRADING
                    ANY     ACIS   CLO   COLLATERAL,     WHETHER    IN
                    FURTHERANCE OF ANY OPTIONAL REDEMPTION, CALL,
                    OR OTHER LIQUIDATION OF THE ACIS CLOS OR
                    OTHERWISE, AND (c) SENDING, MAILING, OR OTHERWISE
                    DISTRIBUTING ANY NOTICE TO THE HOLDERS OF THE
                    ACIS CLOS IN CONNECTION WITH THE EFFECTUATION OF
                    ANY OPTIONAL REDEMPTION, CALL, OR OTHER
                    LIQUIDATION OF THE ACIS CLOS, UNTIL THE EARLIER TO



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 46
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 56 of 69



                    OCCUR OF: (x) THE DATE UPON WHICH THE ACIS
                    TRUSTEE OBTAINS CONTROL OVER MANAGEMENT OF
                    THE SUBORDINATED NOTES BY VIRTUE OF AVOIDING
                    THE PREPETITION FRAUDULENT TRANSFER OF ACIS LP’S
                    RIGHTS UNDER THE ALF PMA THROUGH THE CLAIMS,
                    COUNTERCLAIMS, OR THIRD PARTY CLAIMS ASSERTED
                    OR WHICH MAY BE ASSERTED IN THE HIGHLAND
                    ADVERSARY, (y) THE DATE ON WHICH ALL ALLOWED
                    CLAIMS AGAINST THE DEBTORS HAVE BEEN PAID IN
                    FULL, OR (z) THREE (3) YEARS AFTER THE EFFECTIVE
                    DATE. FOR PURPOSES OF THIS PARAGRAPH, THE TERM
                    “ENJOINED PARTIES” SHALL INCLUDE HIGHLAND,
                    HCLOF, CLO HOLDCO, NEUTRA, HIGHLAND HCF,
                    HIGHLAND CLOM, THE ISSUERS AND CO-ISSUERS, AND
                    THEIR     RESPECTIVE      EMPLOYEES,     AGENTS,
                    REPRESENTATIVES,     TRANSFEREES,   ASSIGNS,  OR
                    SUCCESSORS.

 (Plan § 11.03). The Redemption Injunction is necessary to prevent irreparable harm to the

 Reorganized Debtor and creditors, is appropriate and narrowly tailored to address the specific harm

 to which it is directed and comports with governing case and statutory authority and applicable

 rules of bankruptcy and civil procedure.

          150.       The conduct prohibited by the Redemption Injunction is the same conduct the

 Court has already restrained and enjoined the applicable parties from engaging in on three separate

 occasions. Initially, the Court issued the First TRO sua sponte to prevent effectuation of the first

 optional redemption of the Acis CLOs demanded by HCLOF. To avoid a hearing on a request by

 the Trustee to extend the First TRO, HCLOF advised the Trustee and the Court that it was

 withdrawing its first optional redemption request. Both the Trustee and the Court relied on

 HCLOF’s representations and the Trustee did not go forward with his motion to extend the First

 TRO. Then, the day after the Trustee’s motion was to be heard – and the day the First TRO expired

 – HCLOF made its second demand (without seeking relief from the automatic stay) on the Trustee

 to effectuate an optional redemption.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 47
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 57 of 69



           151.     HCLOF’s second optional redemption demand prompted the filing of the Trustee’s

 Adversary and his Ex Parte Motion seeking a new temporary restraining order. The Court granted

 the Ex Parte Motion and entered the Second TRO, again restraining and enjoining HCLOF and

 other parties from taking any action to effectuate an optional redemption. The Court then heard

 the Trustee’s request for a preliminary injunction in the Trustee’s Adversary and entered a

 Preliminary Injunction Order (the “Preliminary Injunction”) [Docket No. 21 in Adversary No. 18-

 03212-sgj] on July 10, 2018. The Preliminary Injunction continues in effect until confirmation of

 a plan of reorganization, conversion of the Chapter 11 Cases, or as provided by further order of

 the Court. For the reasons set forth below, continuation of the Preliminary Injunction for a limited

 period by way of the Redemption Injunction is warranted.

           (i)      The Four Elements Required for Issuance of the Redemption Injunction are
                    Satisfied

           152.     The Redemption Injunction provides, in essence, that the Preliminary Injunction

 shall temporarily remain in effect after confirmation, until the first to occur of (a) the date on which

 the Acis Trustee obtains avoidance of the ALF PMA transfer, (b) full payment of all allowed

 claims, or (c) the third anniversary of the Effective Date of the Plan. Entry of this limited

 injunction is fully consistent with governing case authorities on the requirements for injunctive

 relief.

           153.     As the Fifth Circuit has stated, the four elements of a preliminary injunction are

 (a) substantial likelihood of success on the merits; (b) substantial threat that the plaintiff will suffer

 irreparable injury; (c) the threatened injury outweighs any harm the injunction might cause the

 defendant; and (d) the injunction is in the public interest. Byrum v. Landreth, 566 F.3d 442, 445

 (5th Cir. 2009); Women’s Med. Ctr. v. Bell, 248 F.3d 411, 419 n.15 (5th Cir. 2001); Hoover v.

 Morales, 164 F.3d 221, 224 (5th Cir. 1998). Each element is present in these cases.



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 48
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 58 of 69



                    (a) Success on the Merits

          154.      In the Preliminary Injunction, the Court found that the Trustee demonstrated a

 substantial likelihood of success on the merits of claims regarding: “(i) violation of the automatic

 stay if injunction is not granted, (ii) utilizing rights transferred for no or insufficient value to

 attempt to effectuate an optional redemption, (iii) failing to obtain court authority under section

 363 to effectuate an optional redemption, and (iv) confirmation of an effective plan of

 reorganization.” Preliminary Injunction at p. 9. Three of these grounds will not apply after the

 Plan is confirmed and/or becomes effective. Upon the Effective Date of the Plan, the automatic

 stay will cease to exist with respect to acts to obtain possession of or to exercise control over

 property of the Estate (See 11 U.S.C. § 362(c)(1)) and Court approval for transactions outside the

 ordinary course of business will no longer be required (See id. §§ 363(b)(1), 1141(b)). And, the

 Preliminary Injunction will no longer be necessary to protect the Trustee’s ability to confirm an

 effective plan of reorganization once the Plan is confirmed. However, ample grounds will remain

 after confirmation of the Plan to continue the Preliminary Injunction by virtue of the Redemption

 Injunction.

          155.      Upon the Effective Date, all Estate Claims shall be vested in the Acis Trustee. This

 includes the counterclaims asserted by the Trustee in the Highland Adversary. Such counterclaims

 include claims under both the Bankruptcy Code and the Texas Uniform Fraudulent Transfer Act

 to avoid prepetition fraudulent transfers of various assets of the Debtors to affiliates of Highland

 (the “Fraudulent Transfer Actions”). One of the Fraudulent Transfer Actions seeks avoidance of

 the transfer of Acis LP’s rights under the ALF PMA (the “ALF PMA Transfer”).

          156.      Prior to October 27, 2017, Acis LP – not HCLOF (formerly known as ALF) – had

 authority to direct and effectuate an optional redemption of the Acis CLOs. But for the fraudulent




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 49
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 59 of 69



 ALF PMA Transfer, HCLOF could not have attempted to direct and effectuate an optional

 redemption of the Acis CLOs and deplete Acis LP’s assets (as it has twice attempted to do

 postpetition).

          157.      A substantial likelihood of success on the merits of the Fraudulent Transfer Actions

 exists. This showing has already been made and is not news to this Court. The Court’s April 13,

 2018 Findings of Fact and Conclusions of Law in Support of Orders for Relief Issued After Trial

 on Contested Involuntary Bankruptcy Petitions (the “Opinion”) [Docket No. 118] contains the

 following observations and findings:

                    The one thing that the court was wholly convinced of was that
                    conflicts of interest among Highland and the Alleged Debtors
                    abound, and no one is looking out for the interests of the Alleged
                    Debtors as a fiduciary should. (Opinion at p. 26)

                    This court has also found that there may have been significant
                    transfers of the Alleged Debtors’ assets prior to the filing of the
                    Involuntary Petitions to potentially avoid paying creditors (i.e., Mr.
                    Terry) and this may provide further support for the court’s finding
                    that the Alleged Debtors are generally not paying their debts as they
                    become due under section 303(h). (Opinion at p. 39 n. 96)

                    [T]his court has heard ample evidence showing that the Alleged
                    Debtors, with the aid of Highland, were transferring assets away
                    from the Alleged Debtors, so that Mr. Terry would have nowhere to
                    look at the end of the day. (Opinion at p. 51)

                    Moreover, the court would note that, even if there were to be a “call”
                    and liquidation of CLO 2014-3 . . . there would still be potential
                    assets for a chapter 7 trustee to administer such as chapter 5 causes
                    of action (which include fraudulent transfers) . . .. (Opinion at p. 52)

          158.      The Court’s Preliminary Injunction goes even further. The Court expressly found

 that a substantial likelihood of success of the merits exists with respect to the Trustee’s claim

 regarding “utilizing rights transferred for no or insufficient value to attempt to effectuate an

 optional redemption” – i.e., the Fraudulent Transfer Action with respect to the ALF PMA Transfer.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 50
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 60 of 69



 Preliminary Injunction at p. 9. The Court also made the following findings in the Preliminary

 Injunction:

                    Significantly, on October 27, 2017, just seven days after Joshua
                    Terry’s arbitration award, Acis LP effectively terminated its own
                    portfolio management rights under the ALF PMA and transferred
                    its authority and those valuable portfolio management rights—for
                    no apparent value—to Highland HCF Advisors, Ltd. (Preliminary
                    Injunction at p. 5; emphasis in original)

                    It appears to the Court that, without this ALF PMA Transfer,
                    which transferred Acis LP’s rights under the ALF PMA to
                    Highland HCF, ALF—which changed its name in late October
                    2017 to Highland CLO Funding Ltd.—could not have attempted
                    to direct and effectuate an optional redemption, which it is now
                    attempting to do. (Preliminary Injunction at p. 6; emphasis in
                    original)

                    Finally, HCLOF is using rights that appear to have been fraudulently
                    transferred from Acis LP (i.e., rights under the ALF PMA) to
                    attempt to effectuate the Optional Redemptions. (Preliminary
                    Injunction at p. 7)

 The Court’s prior findings acknowledge that a substantial likelihood of success on the merits of

 the Fraudulent Transfer Actions exists and the Trustee will demonstrate this again at the Combined

 Hearing. This is particularly true with respect to the ALF PMA Transfer, absent which HCLOF

 would have never been in a position to attempt to direct an optional redemption.

                    (b) Irreparable Harm

          159.      The Debtors, creditors, and other parties in interest face irreparable harm if the

 Redemption Injunction is not issued. Under Plan B or Plan C, a primary source of funding for

 distributions to creditors is revenue to be generated by the Reorganized Debtor under the PMAs.

 Without the Redemption Injunction, HCLOF will be free to direct an optional redemption before

 the Fraudulent Transfer Actions can be adjudicated. Not only would an optional redemption moot

 the Fraudulent Transfer Action regarding the ALF PMA Transfer, it would effectively terminate




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 51
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 61 of 69



 the PMAs. The Court has previously recognized that an optional redemption constitutes a “dooms

 day” scenario that “would effectively destroy all value in the Acis PMAs.” Oaktree Order at p. 5.

          160.      Injunctive relief in the form of the Redemption Injunction is necessary to prevent

 imminent and irreparable injury in the form of substantial losses to creditors and other parties in

 interest, as well as to third parties' financial interests, that will necessarily flow from an optional

 redemption, call, or other liquidation of the Acis CLOs. Such losses cannot be presently measured

 by any certain pecuniary standard, are not reasonably quantifiable, and cannot be adequately

 compensated with monetary damages. Indeed, the destruction of the value of the PMAs would, in

 turn, effectively destroy the Reorganized Debtor’s ability to satisfy its obligations to creditors

 under the Plan B or Plan C alternatives. Thus, no adequate remedy at law exists.

                    (c) Balance of Harms

          161.      The balancing of harms weighs in favor of issuing the Redemption Injunction. Any

 alleged harm to Highland or its affiliates is substantially outweighed by the imminent and

 irreparable harm that would be suffered by the Reorganized Debtor, creditors, and other parties in

 interest if the injunction is not issued and an optional redemption follows. Any harm to Highland

 or its affiliates would be temporary – only long enough to allow the Acis Trustee a fair chance to

 fully prosecute the Fraudulent Transfer Actions for the benefit of creditors.

          162.      This Court has already found that the Trustee has demonstrated a substantial

 likelihood of success on the merits of the Fraudulent Transfer Action concerning the ALF PMA

 Transfer. Prior to such transfer, HCLOF had no ability to direct an optional redemption. That

 authority resided with Acis LP. Highland and its affiliates cannot complain of any real harm that

 they would suffer if they are enjoined from pursuing an optional redemption before the Court has




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 52
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 62 of 69



 the opportunity to determine whether or not HCLOF has any legitimate right to direct an optional

 redemption in the first instance.

                    (d) Public Policy

          163.      Finally, issuance of the Redemption Injunction is consistent with public policy.

 Public policy favors the equitable collecting of a debtor’s assets, maximizing the value of those

 assets, and distributing the proceeds in an orderly fashion in accordance with the priorities and

 safeguards set forth in the Bankruptcy Code, rather than in an uncontrolled, piecemeal, and

 potentially wasteful way. Public policy also supports successful reorganizations. Comptroller of

 Public Accounts v. Transtexas Gas Corp. (In re Transtexas Gas Corp.), 303 F.3d 571, 580 (5th

 Cir. 2002). The Court observed as much in issuing the Preliminary Injunction: “There is a public

 interest in allowing for a Chapter 11 process, rather than costly, prolonged litigation.” Preliminary

 Injunction at p. 11.

          164.      As detailed above, an optional redemption will eliminate future revenues under the

 PMAs – a key source of funding distributions to creditors under Plan B or Plan C. Protecting and

 maximizing the value of the PMAs is integral to enabling the Reorganized Debtor to make required

 distributions to creditors under the Plan and is, therefore, consistent with public policy. The

 Redemption Injunction will prevent HCLOF from renewing its demand for an optional redemption

 the moment the Preliminary Injunction expires upon confirmation of the Plan and is likewise

 consistent with public policy.

          165.      Additionally, public policy favors disposition of cases on their merits. Crane v.

 Napolitano, Civ. Action No. 3:12-cv-03247-O, 2013 U.S. Dist. LEXIS 193120, at *3 (N.D. Tex.

 Mar. 15, 2013). Without the Redemption Injunction, HCLOF can be expected to renew its demand

 for an optional redemption as soon as the Preliminary Injunction expires. This would render the




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 53
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 63 of 69



 Fraudulent Transfer Action concerning the ALF PMA Transfer moot before the Acis Trustee has

 any opportunity to prosecute the claim. For these reasons, public policy strongly favors issuance

 of the Redemption Injunction.

          (ii)      The Redemption Injunction is Consistent with 11 U.S.C. § 105(a), Fed. R.
                    Bankr. P. 3020(c)(1), and Fed. R. Civ. P. 65(d)(1)

          166.      As the foregoing discussion shows, the prerequisites for injunctive relief are present

 here: substantial likelihood of success on the merits; irreparable harm if the injunction is not issued;

 the balance of harms favors issuance of the injunction; and issuance of the injunction serves public

 policy. These are the traditional requirements of equity jurisprudence, followed by the Fifth

 Circuit and generally applicable in civil cases. In a chapter 11 case, however, there is more specific

 statutory authority by which a court may issue an injunction. Also, rules of procedure set forth

 standards of form with which such an injunction must comply in a bankruptcy case. The

 Redemption Injunction meets these requirements as well.

                    (a) Section 105(a)

          167.      This Court is statutorily empowered to “issue any order, process, or judgment that

 is necessary or appropriate to carry out the provisions” of title 11. 11 U.S.C. § 105(a). Issuance

 of the Redemption Injunction is “necessary [and] appropriate to carry out the provisions” of the

 Bankruptcy Code.             As discussed above, the Redemption Injunction is essential to the

 consummation of the Plan. Without it, HCLOF will be free after confirmation to demand an

 optional redemption, leading to liquidation of the Acis CLOs, and destruction of the value of the

 PMAs. The Court recognized this risk and understood the importance of enjoining an optional

 redemption up through confirmation by issuing the Preliminary Injunction.

          168.      Although other grounds for issuance of the Preliminary Injunction will cease to be

 applicable following confirmation of the Plan, preserving the status quo to allow prosecution of



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 54
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 64 of 69



 the Fraudulent Transfer Action concerning the ALF PMA Transfer will remain valid. Injunctive

 relief is appropriate to preserve the status quo in an action seeking equitable relief:

                    [W]hen a plaintiff asserts a cognizable claim to specific assets of the
                    defendant or seeks an equitable remedy involving those assets, a
                    court may issue injunctive relief to preserve the status quo pending
                    judgment where the legal remedy might prove inadequate and the
                    preliminary relief furthers the court’s ability to grant the final relief
                    requested.

 Seidel v. Warner (In re Atlas Fin. Mortg., Inc.), No. 13-32683-bjh-7, 2014 Bankr. LEXIS 140, *10

 (Bankr. N.D. Tex. Jan. 14, 2014) (citing United States ex rel. Rahman v. Oncology Assocs., 198

 F.3d 489, 496 (4th Cir. 1999)). The Fifth Circuit, in an unpublished opinion, has also recognized

 the propriety of an injunction to preserve the status quo in cases where equitable relief is sought.

 Animale Group v. Sunny’s Perfume, Inc., 256 Fed. Appx. 707, 709 (5th Cir. 2007) (“Because

 Defendants seek equitable relief, the district court was authorized to preserve the status quo by

 entering a limited asset freeze.”).

          169.      The Trustee’s counterclaims in the Highland Adversary to avoid fraudulent

 transfers seek equitable relief. Rahman, 198 F.3d at 498 (“The complaint’s request to void

 transfers as fraudulent – a form of rescission – is also an equitable remedy.”); Dong v. Miller, No.

 16-CV-5836 (NGG) (JO), 2018 U.S. Dist. LEXIS 48506, *30-31 (E.D.N.Y. Mar. 23, 2018) (“The

 setting-aside of a fraudulent conveyance is a form of equitable relief.”). Furthermore, the

 Fraudulent Transfer Action concerning the ALF PMA Transfer involves a claim to specific assets

 of Highland HCF. It is therefore beyond peradventure that the Redemption Injunction – which

 essentially serves to continue the existing Preliminary Injunction at least until the Fraudulent

 Transfer Actions are adjudicated – is warranted. See Iantosca v. Step Plan Servs., 604 F.3d 24, 33

 (1st Cir. 2010) (affirming preliminary injunction where creditors had a “colorable claim that

 appellants’ own supposed interest under the settlement rests upon a fraudulent conveyance”);



 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 55
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 65 of 69



 Rahman, 198 F.3d at 498-99; Atlas Fin., 2014 Bankr. LEXIS 140 at *10 (granting preliminary

 injunction where complaint sought avoidance of fraudulent transfers under the Bankruptcy Code

 and the Texas Uniform Fraudulent Conveyance Act); Paradigm Biodevices, Inc. v. Centinel Spine,

 Inc., No. 11 Civ. 3489 (JMF), 2013 U.S. Dist. LEXIS 66858, *7 (S.D.N.Y. May 9, 2013) (authority

 to grant preliminary injunction existed because plaintiff alleged not only a legal claim for money

 damages, but also an equitable claim to avoid fraudulently transferred assets).

                    (b) Bankruptcy Rule 3020(c) and Rule 65(d)(1)

          170.      Issuance of the Redemption Injunction is appropriate as a matter of substantive law

 under general equity jurisprudence and section 105(a) of the Bankruptcy Code. In addition, as a

 procedural matter, the Redemption Injunction complies with Bankruptcy Rule 3020(c) and Federal

 Rule of Civil Procedure 65(d)(1).

          171.      If an order confirming a chapter 11 plan includes an injunction “against conduct

 not otherwise enjoined under the [Bankruptcy] Code,” the confirmation order must “(1) describe

 in reasonable detail all acts enjoined; (2) be specific in its terms regarding the injunction; and (3)

 identify the entities subject to the injunction.” Fed. R. Bankr. P. 3020(c)(1). An order confirming

 the Plan and approving the Redemption Injunction will meet this three-part test. First, the acts

 enjoined are described in reasonable detail in the language of the Redemption Injunction. The

 description of acts enjoined is specific and particular; it gives the enjoined parties fair notice of

 what conduct is forbidden.

          172.      Second, the Redemption Injunction is specific in its terms regarding the injunction.

 Not only are the prohibited acts spelled out with specificity, but the provision clearly describes the

 condition that triggers the injunction (confirmation of the Plan based on the terms and provisions

 of Plan B or Plan C). The limited duration of the injunction is also clearly defined by identification




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 56
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 66 of 69



 of three specific events, the earliest of which to occur shall serve to terminate the Redemption

 Injunction.

          173.      Finally, the Redemption Injunction plainly identifies the specific entities subject to

 the injunction. Therefore, an order approving the Redemption Injunction as presented would be

 in full compliance with Bankruptcy Rule 3020(c)(1).

          174.      Federal Rule of Civil Procedure 65(d)(1) prescribes several formal requirements

 for “[e]very order granting an injunction and every restraining order.” Fed. R. Civ. P. 65(d)(1).

 Specifically, every such order must:

                              (A)      state the reasons why [the injunction] issued;

                              (B)      state its terms specifically; and

                              (C)      describe in reasonable detail—and not by referring to
                                       the complaint or other document—the act or acts
                                       restrained or required.

 Id. The requirements of Rule 65(d)(1) largely parallel those in Bankruptcy Rule 3020(c)(1), and

 the above discussion of Bankruptcy Rule 3020(c)(1) is applicable here. The language of the

 Redemption Injunction, together with the testimony and other evidence that the Trustee will

 present at the confirmation hearing, will give the Court an ample basis on which to enter an order

 that fully comports with Bankruptcy Rule 3020(c)(1) and Rule 65(d)(1).

                                                    CONCLUSION

          175.      The Plan meets all the Bankruptcy Code’s requirements for confirmation of a

 chapter 11 plan of reorganization. Therefore, the Plan should be confirmed.

          WHEREFORE, the Trustee prays that the Court enter an order granting final approval of

 the Disclosure Statement, confirming the Plan and granting such other and further relief to which

 he may be justly entitled.




 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 57
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50      Page 67 of 69



 Date: August 17, 2018.                                              Respectfully submitted,

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 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement          Page 58
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                         Entered 08/17/18 20:00:50     Page 68 of 69




                                         CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon
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 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement         Page 59
Case 18-30264-sgj11 Doc 525 Filed 08/17/18                                Entered 08/17/18 20:00:50                     Page 69 of 69



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 Trustee’s Brief in Support of Confirmation of Plan and Final Approval of Disclosure Statement                                     Page 60
